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                       Exhibit 9
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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                   )
        EXXON MOBIL CORPORATION,   )
                                   )
                        Plaintiff, )
                                   )
                  v.               )                      Civil Action Nos. H-10-2386 (LHR)
                                   )                                        H-11-1814 (LHR)
        UNITED STATES OF AMERICA,  )
                                   )
                        Defendant. )
        _____________)
                        DECLARATION OF RICHARD LANE WHITE

        I, Richard Lane White, declare as follows:

         1.     I am over 18 years of age, and I am fully competent to make this declaration. I

 reside at 1230 River Road, Plainfield, New Hampshire 03781. I have personal knowledge of the

 facts set forth in this declaration and am competent to testify to them if necessary. All of the

 facts stated herein are true and correct.

        2.      I am a Director at Gnarus Advisors LLC ("Gnarus"), an economic consulting firm·

 based in Arlington, VA. I joined Gnarus in October 2009. Previously, I was a director at LECG

 between 2001 and 2009. Prior to that, I was a Senior Vice President at PHB Hagler Bailly, Inc.

 (and its predecessor Putnam, Hayes & Bartlett, Inc.) between 1987 and 2001.                  My

 responsibilities at LECG and PHB Hagler Bailly were largely directed at allocation engagements

 at hazardous waste sites. I have a B.A. from Willamette University (Salem, Oregon) and a

 M.P.P. from Harvard University (Cambridge, Massachusetts). As a member of Gnarus'

 Environmental & Natural Resources practice, one of my key areas of specialization is the

 allocation of environmental response costs in the context of Superfund contribution matters. I




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 have conducted similar work while at LECG and PHB Hagler Bailly. I have published on a

 variety of cost allocation topics, and have provided expert testimony in both state and federal

 courts. As part of my work, I have provided expert testimony on allocation issues in two of the

 largest environmental bankruptcy cases in the United States: Asarco and Tronox. 1 ' 2 My

 educational background, positions I have held, publications, and prior testimony are truly and

 correctly listed in my curriculum vitae (and Rule 26 disclosure) attached hereto as

 Attachment 1. 3

         3.       I have been retained by counsel for Exxon Mobil Corporation ("ExxonMobil") as

 an expert witness in the above-captioned cases to develop a framework for the allocation of

 response costs at the ExxonMobil's Baytown and Baton Rouge chemical and refinery complexes

 (the "sites").

         4.       In addition to this matter, I am currently retained as an expert on seven other

 unrelated cost allocation matters relating to sites located in various regions of the country.

         5.       Both of the sites at issue in these cases are large integrated oil refinery and

 chemical complexes, owned and operated by ExxonMobil and its predecessors. At each of these

 sites, the U.S. government also owned and and/or operated facilities related to the production of

 war products and/or components, including aviation gasoline ("avgas") and avgas components

         In Re: ASARCO, LLC, et al., United States Bankruptcy Court, Southern District of Texas
         (Corpus Christi Division), Case No. 05-21207. As part of the Asarco case I was deposed
         and/or provided trial testimony in a large number of the individual (site-specific)
         hearings. My testimony is listed in my CV.
 2
         In Re: Tronox, Incorporated, Tronox Incorporated, et al. v. Anadarko Petroleum
         Corporation and Kerr-McGee Corporation, United States Bankruptcy Court, Southern
         District ofNew York, Case No. 09-10098 (ALG). My work in this matter was not in the
         bankruptcy case itself, but in a related case between Anadarko I Kerr-McGee and Tronox,
         which was heard by the bankruptcy court. My testimony is this matter is identified in my
         cv.
 3       My CV lists all of my publications, and my Rule 26 disclosure of prior sworn testimony
         includes a listing of all my prior testimony (not limited to the prior four years).


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 (e.g., codimer, alkylate, etc.) production facilities, synthetic rubber plancors, and an ordnance

 works facility.

         6.        I have previously prepared an expert report in this case. My initial report, dated

 June 18, 2012, lays out in detail my allocation methodology for each of the sites and for the

 various areas within each site. My rebuttal report, dated December 17, 2012, and attached hereto

 as Attachment 2, addresses issues raised by Mr. Low's submitted report. In addition to my two

 expert reports, I have previously submitted a declaration, dated September 24,2013.

         7.        I have reviewed the U.S. submissions, dated December 20, 2013, including the

 declaration of Mr. Low, which is focused on raising issues with respect to my allocation analysis.

 While much of what he raises is his attempt to describe my step-by-step analysis, I will leave that

 to my reports themselves, and focus on instead general approaches to allocation and the

 reasonableness of my approach here.

         8.        As a general criticism, Mr. Low raises the point that the various operations at the

 sites are all different - different areas, different activities (See Low Declaration, , 13) and his

 criticism is that that my "combining" of these somehow fails to take into account key factors.

 Yet the fact remains, each site is an oil refining operation, and the various areas currently being

 remediated are all - each of them - addressing the contaminants typical of these types of

 operations. The process by which releases to the environment occur - as part of the refining and

 waste capture I treatment process - are fairly consistent and homogenous across each of the

 respective sites. In addition, wastes have indeed been commingled throughout the years at both

 sites, and that is an important factor that must be taken into account in developing an equitable

 allocation. Were it the case that some particular cost element was being "driven" by a different

 set of facts (i.e., time, constituents, process, etc.) I would consider those in my analysis -and




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 where applicable, have done so -, but the general criticism that because I find many of these

 elements consistent similar, and therefore address them as a single process, simply derives from

 the fact that these areas are, in fact, the result of a similar process and timeframe.

         9.     Mr. Low's criticism implies an ability to distinguish the wastes and their sources

 that does not exist. These costs are not driven by a series of distinguishable events that might

 somehow be divided conveniently based up discrete historical events. Rather, these are costs

 driven by oil refining releases from plants that were oil refineries for decades. No such

 convenient divisibility exists, and the approach taken here is reasonable given the historical

 nature of the sites and their operations.

         10.     In criticizing my waste generation factors (factors used to adjust raw production

 volumes), Mr. Low continues to assert that there is no relationship between the quantity of waste

 sludge generated at each facility and the contamination now subject to investigation and

 remediation. While the sludge itself is not the subject of the allocation (since the sludge removal

 costs are not being claimed), sludge generation rates are a proxy for the effectiveness of plant-

 wide waste processing efficiencies designed to release less waste from the oil refining process. It

 cannot be refuted that these activities, undertaken shortly after World War II, significantly

 reduced the amount of waste generated (on a per-barrel basis) from the plant. The waste effluent,

 which is the source for the contamination now found at each site, was unquestionably improved

 by these measures.

         11.     The concept behind a production-based allocation is straightforward. In the

 absence of direct evidence on the quantity of waste being generated, throughput or production

 data are used as a proxy for scaling the operation, and in tandem, adjustment factors are

 employed to scale these production data to reflect changes in processes that demonstrate changes




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 in waste generation. For example, stack emissions can be estimated based on production, but

 must be adjusted to reflect changes in scrubber technology or other processes that affect the

 amount of pollution released into the environment.

         12.     The type of surrogates and process efficiencies that are included in my analysis

 are reasonable, appropriate, and consistent with allocation procedures at other similar sites. The

 use of sludge reduction data and reduction of oily effluent data are reasonable proxies for

 assessing the environmental performance of the refineries and should be used in these cases to

 assess waste improvements at the sites. The examination of and analysis of contemporaneous

 company documentation generated in the 1940s through 1960s is reasonable as a basis for

 calculating process improvements and I have used similar documentation in performing

 allocations at other historical industrial sites.

         13.     Our disagreement is not over the appropriateness of a production-based

 allocation, but whether there are data available to reasonably estimate both aspects of such an

 approach: quantity of production, and waste generation efficiencies. With respect to production

 data, those are available and have been fully produced. Thus, the crux of our disagreement is

 over the documentary evidence that demonstrate quantifiable improvements to waste processing,

 and whether they are relevant and reliable. I have opted to examine and apply them in what in

 my opinion are appropriate ways; Mr. Low has chosen to ignore them.

         14.     As a consequence, his analysis is based on an "equal per year" approach where

 there are no changes to the level of either production, or process improvement. The data on each

 of these factors simply does not support that conclusion. It is simply inconceivable that these

 plants were generating the same quantity of waste (per barrel of production) in 1970 or 1980 as

 they were generations before. The combination of environmental regulation and technology




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 alone would argue against such an "equal per year" framework. Further, to employ that

 framework would mean that the various lengthy and expensive programs undertaken at each

 facility - specifically designed to reduce pollution - were of no value, despite the

 contemporaneous data that demonstrate otherwise.

        15.     In sum, I believe that my approach as reflected in my report accurately reflects a

 production-oriented surrogate approach to allocation in these cases, given the historical

 operations that have been conducted at both sites.

        I declare that the foregoing is true and correct under penalty of perjury of the laws of the

 United States. Executed on January 21, 2014.




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                          Attachment 1
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                                                         Richard Lane White
                                                         Director
Richard Lane White
Director                                                 SUMMARY
Gnarus Advisors LLC                                      Rick White is a Director with Gnarus Advisors LLC and has more
275 Wyman Street                                         than two decades of experience consulting to private clients on a
Suite 250                                                range of environmental and insurance coverage issues.
Waltham, MA 02451

Tel 617.294.9737                                         One of Mr. White’s areas of focus regards the allocation of costs at
Fax 617.933.7617
                                                         hazardous waste sites. Mr. White is an expert in the evaluation and
rwhite@gnarusllc.com                                     analysis of liability, allocation and related issues faced by parties at
                                                         Superfund sites. He has served as a neutral allocation consultant, an
Education and Professional                               allocation expert for contribution cases, and has directed a number of
• MPP, Harvard University, 1985                          allocation engagements on behalf of clients. Mr. White is a frequent
• B.A. (Economics, History, Political Science),          contributor to environmental journals where he discusses a variety of
  Williamette University, 1983
                                                         cost allocation issues.
Previous Employment
                                                         Another area of Mr. White’s focus regards cost estimation techniques
• LECG, LLC
                                                         used to forecast future environmental cleanup. Mr. White is an expert
• PA Consulting Group (successor to PHB
  Hagler Bailly)                                         in the development and application of probabilistic cost models and
• PHB Hagler Bailly (Putnam, Hayes &                     frequently works with other Gnarus experts on issues related to
  Bartlett, Inc.)                                        forecasting future site cleanup costs. Mr. White has provided expert
• Putnam, Hayes & Bartlett, Inc.
                                                         testimony in this area.

Professional Affiliations                                Another area of Mr. White’s focus regards the evaluation of NRD
• Member, American Bar Association,                      claims. Mr. White is an expert in the evaluation of economic and
  Litigation and Environment Sections
                                                         financial modeling issues related to NRD claims. Mr. White has
• Member, American Economic Association
                                                         provided expert testimony in this area.
• Associate, Environmental Law Institute
• Member (former), Boston Bar Association,
  Environmental Section                                  Another area of Mr. White’s focus regards the analysis of cost claims
• Member (former), Information Network for               and allocation of those claims to insurance policies in the context of
  Superfund Settlements
                                                         environmental and product liability insurance coverage matters. He
• Member (former), editorial board, Strategic
  Environmental Management
                                                         has written on a range of insurance allocation topics, presented
                                                         insurance allocation methodologies for seminars, and provided
                                                         expert testimony on insurance allocation issues.


                                                         PROJECT EXPERIENCE
                                                         Cost Allocation at Superfund and Hazardous Waste Sites
                                                         Mr. White has served as a neutral allocation consultant and as an
                                                         expert in contribution suits. He has worked on sites in every region of
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                                         the country and on a range of sites (e.g., landfills, groundwater plumes,
                                         battery breaking operations, manufactured gas operations, tolling
                                         operations, pesticide plants, mining operations, and incinerator sites).
                                         •    For a coalition of industrial parties at the Beacon Heights
                                              landfill (Region I), he has served as the neutral allocation
                                              consultant and the allocation expert for the contribution suit
                                              (B.F. Goodrich v. Murtha) where he recently provided expert
                                              testimony on cost allocation issues. As part of his analysis, he
                                              has prepared a multi-volume allocation report and assisted
                                              litigation counsel with its cash-out settlement offers. The
                                              Murtha suit involved more than 300 municipal, commercial
                                              and industrial waste generators.
                                         •    For the industrial parties at the Chemical Control Corporation
                                              site (Region 2), he served as the neutral allocation consultant.
                                              He worked with the committee on its federal settlement and
                                              internal de minimis buyout proposal and conducted an audit of
                                              USEPA's waste-in list to determine whether it could be used as
                                              a basis for adding additional volumetric data supplied by the
                                              PRPs. As a result of his work, an additional 50 parties and new
                                              sources of documents were identified.
                                         •    For the industrial parties at Operating Industries, Inc. landfill
                                              (Region 9), he managed the team that developed a waste-in list
                                              and conducted a separate analysis of the waste streams
                                              generated by a number of municipalities as a part of a third-
                                              party contribution suit (Transportation Leasing v. Caltrans). He
                                              worked closely with counsel on the de minimis settlement
                                              negotiations.
                                         •    For a private party he directed the allocation analysis at a
                                              major Region III groundwater NPL site in a contribution case
                                              with cleanup costs exceeding $125 million.
                                         •    On behalf of ASARCO LLC he has provided testimony on cost
                                              allocation issues at many of the sites in the ASARCO
                                              Bankruptcy proceeding.
                                         •    He has been reviewed and approved by USEPA to serve as an
                                              allocation expert in the ongoing USEPA Allocation Pilot
                                              project.

                                         Environmental Cost Estimation
                                         Mr. White frequently works with other Gnarus experts whose primary
                                         role is the development of future cost estimates at environmental sites.
                                         Mr. White frequently assists those experts with related economic,
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                                                                                          Richard Lane White, Page 3




                                         finance and modeling issues.

                                         In the ASARCO bankruptcy, for example, Mr. White provided expert
                                         testimony on the appropriateness and application of probabilistic cost
                                         analysis and Monte Carlo simulation modeling, as well as related
                                         issues as to timing and discounting, which were being employed by
                                         another Gnarus expert whose role was to forecast future
                                         environmental liabilities.

                                         Natural Resource Damages
                                         Mr. White has worked on the evaluation and development of NRD
                                         claims. In the ASARCO bankruptcy, for example, he served as
                                         ASARCO’s expert on NRD where he evaluated NRD claims at
                                         numerous sites and provided deposition and trial testimony on
                                         potential NRD claims.

                                         Environmental and Products Liability Insurance Coverage
                                         Mr. White’s work focuses on the development of allocation models to
                                         evaluate complex multi-year, multi-policy insurance coverage
                                         programs. He has worked on the allocation of asbestos, environmental,
                                         silicone breast implant and other product liability claims.
                                              •    For a Fortune 100 client, he has developed the allocation of
                                                   more than $1 billion in costs at more than 45 sites across 15
                                                   states among 60 insurance carriers. He is currently
                                                   working with the client team on settlement, in advance of
                                                   trial where he is expected to present testimony on
                                                   allocation.
                                              •    For a variety of clients involved in potential litigation with
                                                   their insurance carriers, he has evaluated site remediation
                                                   issues, including cleanup technologies and allocation
                                                   issues, at a number of NPL sites in Regions V and VI.
                                              •    For a major asbestos products manufacturer, he has
                                                   evaluated the potential global liability that the company
                                                   faces from current and future asbestos claims in order to
                                                   estimate the future claims that party might make against
                                                   its primary insurance policies, and modeled exhaustion of
                                                   those policies in preparation for settlement with insurance
                                                   carriers.
                                              •    For a major defense contractor, he managed the project
                                                   team that developed the cost estimates and allocation
                                                   analysis for their multi-site environmental insurance claim.

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                                                   He also provided testimony on an allocation of
                                                   environmental liability claims to various insurance
                                                   carriers.
                                              •    For a Fortune 100 company, he directed the analysis for
                                                   estimating and allocating claims in a major products
                                                   liability case where the manufacturer sought recovery
                                                   from its insurers. This work involved estimating the size of
                                                   the product implant pool, payouts to claimants and
                                                   allocation of costs incurred to various insurance carriers.
                                                   As part of this work, he also evaluated asbestos,
                                                   environmental, and other products claims for purposes of
                                                   estimating future costs and allocation of these costs to
                                                   responding carriers. He provided testimony on the
                                                   allocation at deposition and trial.

                                              •    For a domestic subsidiary of a multi-national corporation,
                                                   he evaluated the allocation of site costs at three New Jersey
                                                   facilities and worked with the trial team to develop its
                                                   allocation methodology and its responses to insurers’
                                                   arguments and analysis from a special insurance master
                                                   retained by the court.


                                         CONFERENCES, PRESENTATIONS, AND SEMINARS


                                         Allocations in Superfund Settlements Workshop, USEPA, Office of
                                         Enforcement, Superfund Division (January 23-24, 1992, Washington,
                                         DC).

                                         Information Network for Superfund Settlements, INSS and Morgan,
                                         Lewis & Bockius, LLP (Various, 1990-2002).

                                         “Insurance Allocation Methodologies: Approaches and Implications
                                         for Coverage,” IBC Conference: Optimizing Manufactured Gas Plant
                                         Insurance Recovery: Pursuing an Effective Settlement Strategy (November
                                         12-13, 1997, Chicago, Ill.).

                                         Successfully Resolving Multi-Party Hazardous Waste Disputes:
                                         Alternatives to Litigation, American Arbitration Association and Clean
                                         Sites, Inc. (December 1, 1988, New York, NY).

                                         “Anatomy of an Insurance Coverage Dispute,” American Bar
                                         Association: Environmental Litigation Midyear Meeting (February 3,


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                                         2000, Steamboat Springs, CO).

                                         “Cost Allocation in Private Cost Recovery Cases,” The IBC Third
                                         Annual    Executive     Forum    on   Environmental    Forensics:
                                         Understanding the Private Cost Recovery Litigation Process
                                         Workshop (June 6, 2000, Washington, DC).

                                         “Order Out of Chaos: Basic Rules of Superfund Cost Allocation,” The
                                         Villanova Environmental Law Journal Twelfth Annual Symposium:
                                         Allocation – Litigating Response Cost Contribution Claims Under the
                                         Federal Superfund Act (November 4, 2000, Villanova, PA).

                                         Mealey’s All Sums: Reallocation and Settlement Credits Conference,
                                         Mealeys Conference (November 8, 2004, Boston, MA).

                                         PUBLICATIONS


                                         “Second Circuit Reaffirms Key CERCLA Liability Principles,” Mealey’s
                                         Litigation Report: Superfund, Vol. 10, No. 1 (April 10, 1997).
                                         “Examining Risk And Risk Premiums In The Buy-Out Of
                                         Environmental Insurance Coverage,” with John C. Butler III, Charles J.
                                         Queenan III and Shameek Konar, Mealey’s Litigation Report:
                                         Insurance, Vol. 11, No. 33 (July 1, 1997).
                                         “The Debate Over Orphan Share Allocation,” with Allen Kezsbom,
                                         Chemical Waste Litigation Reporter, Vol. 34, No. 3 (August 1997).
                                         “EPA’s New Municipal Liability Proposal Sidesteps Equitable
                                         Allocation By Courts,” Toxics Law Reporter, Vol. 12, No. 11 (August
                                         13, 1997).
                                         Comments on USEPA’s “Municipal Solid Waste Settlement Proposal,”
                                         Submitted to the USEPA pursuant to notice in the Federal Register Vol.
                                         62, No. 133, July 11, 1997, page 37231 (August 22, 1997).
                                         “Unequal Superfund Treatment: CERCLA Dupli-City,” The
                                         Environmental Corporate Counsel Report, Vol. 5, No. 7 (October 1997).
                                         “No Need To Redefine Orphan Shares,” with Allen Kezsbom,
                                         Chemical Waste Litigation Reporter, Vol. 34, No. 6 (November 1997).
                                         “Applying Cost Causation Principles in Superfund Allocation Cases,”
                                         with John C. Butler III, Environmental Law Reporter, Vol. 28, No. 2
                                         (February 1998).
                                         “Landfills: Superfund’s Next Frontier?,” Strategic Environmental
                                         Management, Vol. 1, No. 1 (Spring 1998).
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                                         “Aerojet Establishes an Objective Process for Evaluating Defense
                                         Costs,” with John C. Butler III and Karl L. Killian, Mealey’s Litigation
                                         Report: Insurance, Vol. 12, No. 26 (May 12, 1998).
                                         “A Note on Cost Causation, Incremental Cost and Superfund Cost
                                         Allocation,” submitted to USEPA pursuant to the public participation
                                         requirements of CERCLA (June 12, 1998) and subsequently published
                                         in Mealey’s Litigation Report: Superfund, Vol. 11, No. 10 (July 1998).
                                         “Will Insurance Allocation Ever Be Simple in New Jersey: Comparing
                                         Owens-Illinois and Carter-Wallace,” Environmental Claims Journal, Vol.
                                         10 No. 4 (Summer 1998).
                                         “Proposed New ASTM Standards for Estimating Environmental
                                         Liabilities Signal a Preference for the Use of Decision Analysis and
                                         Expected Cost Analysis,” with Shameek Konar, Strategic
                                         Environmental Management, Vol. 1, No. 3 (Spring 1999).
                                         “Insurance Allocation in New Jersey: The Evolution of Carter-Wallace,”
                                         Journal of Insurance Coverage, Vol. 1, No. 5 (Spring 1999).
                                         “Basic Economic and Analytical Tools And Their Application in
                                         Environmental Analysis,” with Shameek Konar, Chapter 5A in Vol. 1
                                         of Law of Environmental Protection, (Sheldon M. Novick, ed.).
                                         Environmental Law Institute (March 1999).
                                         “New Jersey’s Highest Court Slams the Door on ‘No Stacking’
                                         Advocates,” with William W. Robertson and Jeffrey A. Cohen,
                                         Environmental Claims Journal, Vol. 11, No. 4 (Summer 1999).
                                         “The Allocator’s Challenge: Examining Basic Environmental Insurance
                                         Allocation Issues,” Conference Paper for the American Bar Association
                                         Section of Litigation Environmental Litigation Committee Midyear
                                         Meeting (February 3, 2000).
                                         “Eight Basic Rules of Superfund Cost Allocation,” Environmental Law
                                         Reporter, Vol. 30, No. 3 (March 2000).
                                         “Method or Madness: Basic Principles in Equitably Allocating
                                         Superfund Response Costs,” The IBC Third Annual Executive Forum
                                         on Environmental Forensics: Understanding the Private Cost Recovery
                                         Litigation Process Workshop (conference paper). Washington, DC,
                                         (June 26, 2000).




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                                                                                          Richard Lane White
                                                                     Rule 26(A)(2)(B) - Disclosure of Trial / Deposition Testimony
      Entry    Date(s)                              Name of Case                                         Court                                Law Firm / Attorney                Topic(s) Addressed     Testimony


       1      06/15/1995   Rockwell International Corp. v. Aetna Casualty & Surety Co.   Superior Court, State of California,   Troop Steuber Pasich Reddick & Tobey, LLP      Insurance Allocation     Deposition
                                                                                         County of Los Angeles                  Susan Page White, Esq.

       2      05/27/1998   B.F.Goodrich v. Murtha                                        U.S. District Court (D. Conn.)         Pepe & Hazard LLP                              CERCLA Cost Allocation     Trial
                                                                                                                                                                                                                     Case 4:10-cv-02386




              05/28/1998                                                                                                        David E. Rosengren, Esq.                       (Direct)                 Testimony
              05/29/1998                                                                                                        Louis R. Pepe, Esq.

       3      07/02/1998   B.F.Goodrich v. Murtha                                        U.S. District Court (D. Conn.)         Pepe & Hazard LLP                              CERCLA Cost Allocation     Trial
                                                                                                                                David E. Rosengren, Esq.                       (Rebuttal)               Testimony
                                                                                                                                Louis R. Pepe, Esq.

       4      08/12/1999   Ruetgers-Nease Corp. v. Occidental Chemical Corp.             U.S. District Court (N.D. Ohio)        Thompson, Hine & Flory LLP                     CERCLA Cost Allocation   Deposition
                                                                                                                                Michael Hardy, Esq.
                                                                                                                                Heidi Goldstein, Esq.
                                                                                                                                                                                                                     Document 121-4




       5      10/01/1999   First State v. 3M                                             Minnesota District Court (Second       Larson King LLP                                Insurance Allocation     Deposition
                                                                                         Judicial District)                     Dale Larson, Esq.
                                                                                                                                Zelle, Hoffman, Voebel & Gette LLP
                                                                                                                                James S. Reece, Esq.

       6      02/10/2000   First State v. 3M                                             Minnesota District Court (Second       Larson King LLP                                Insurance Allocation     Deposition
                                                                                         Judicial District)                     Dale Larson, Esq.
                                                                                                                                Zelle, Hoffman, Voebel & Gette LLP
                                                                                                                                James S. Reece, Esq.

       7      02/15/2000   First State v. 3M                                             Minnesota District Court (Second       Larson King LLP                                Insurance Allocation       Trial
                                                                                         Judicial District)                     Dale Larson, Esq.                              (Direct)                 Testimony
                                                                                                                                Zelle, Hoffman, Voebel & Gette LLP
                                                                                                                                James S. Reece, Esq.

       8      04/26/2000   Procter v. Lockheed Corporation                               Superior Court, State of California,   Troop Steuber Pasich Reddick & Tobey, LLP      CERCLA Cost Allocation   Deposition
                                                                                         County of Santa Clara                  Clyde M. Hettrick III, Esq.
                                                                                                                                                                                                                     Filed on 01/23/14 in TXSD




       9      03/06/2002   First State v. 3M                                             Minnesota District Court (Second       Larson King LLP                                Insurance Allocation     Pre-Filed
                                                                                         Judicial District)                     Dale Larson, Esq.                                                       Testimony
                                                                                                                                Doug Skor, Esq.


       10     07/12/2002   Rohm & Haas v. American Cyanamid                              U.S. District Court (D.N.J.)           Sills Cummis Radin Tischman Epstein & Gross,   CERCLA Cost Allocation   Deposition
                                                                                                                                P.A.
                                                                                                                                Philip R. Sellinger, Esq.
                                                                                                                                Mark S. Olinsky, Esq.
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       11     09/13/2002   RSR Corporation v. A.I.U. Insurance Company                   Texas District Court (Harrison           Bickel & Brewer                                Insurance Allocation     Deposition
                                                                                         County, 71st Judicial District)          Deborah Deitsch-Perez, Esq.
                                                                                                                                  Michael Gardner, Esq.
                                                                                                                                                                                                                       Case 4:10-cv-02386




       12     02/19/2003   RSR Corporation v. A.I.U. Insurance Company                   Texas District Court (Harrison           Bickel & Brewer                                Insurance Allocation     Deposition
                                                                                         County, 71st Judicial District)          Deborah Deitsch-Perez, Esq.
                                                                                                                                  Michael Gardner, Esq.

       13     06/30/2004   First State v. 3M                                             Minnesota District Court (Second         Larson King LLP                                Fee Breakdown            Deposition
                                                                                         Judicial District)                       Dale Larson, Esq.
                                                                                                                                  Doug Skor, Esq.


       14     02/18/2005   RSR Corporation v. A.I.U. Insurance Company                   Texas District Court (Harrison           Bickel & Brewer                                Insurance Allocation     Deposition
                                                                                                                                                                                                                       Document 121-4




                                                                                         County, 71st Judicial District)          Michael Gardner, Esq.



       15     12/07/2005   Reynolds Metals Company and ALCOA Inc. v. Whittaker           U.S. District Court, Southern District   BakerBotts LLP                                 CERCLA Cost Allocation   Deposition
                           Corporation                                                   Texas (Victoria Division)                B. Daryl Bristow, Esq.



       16     11/16/2006   Robert M. Friedland v. TIC - The Industrial Company, et.al.   U.S. District Court, Colorado            Faegre & Benson LLP                            CERCLA Cost Allocation   Deposition
                                                                                                                                  Colin C. Deihl, Esq.



       17     12/19/2006   Viacom International, Inc. v. Admiral Insurance Company,      Superior Court of New Jersey, Law        Robertson, Freilich, Bruno & Cohen, LLC        Insurance Allocation     Deposition
                           et.al.                                                        Divisision, Somerset County              Kevin J. Bruno, Esq.
                                                                                                                                  Paul, Weiss, Rifkind, Wharton & Garrison LLP
                                                                                                                                  Allan J. Arffa, Esq.
                                                                                                                                                                                                                       Filed on 01/23/14 in TXSD




       18     03/02/2007   Thomas & Betts Corporation v. The Travelers Insurance         Superior Court of New Jersey, Law        Robertson, Freilich, Bruno & Cohen, LLC        Insurance Allocation     Deposition
                           Company, et.al.                                               Divisision, Somerset County              Jeffrey A. Cohen, Esq.



       19     03/23/2007   XIK Corp. et.al., and Honeywell International, Inc. and       Arbitration Reference Number             Katten Muchin Rosenman LLP                     CERCLA Cost Allocation   Deposition
                           Domtar, Inc.                                                  1220035101                               Russell B. Selman, Esq.
                                                                                                                                  Bradley S. Rochlen, Esq.
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       20     05/08/2007   XIK Corp. et.al., and Honeywell International, Inc. and   Arbitration Reference Number        Katten Muchin Rosenman LLP          CERCLA Cost Allocation       Trial
                           Domtar, Inc.                                              1220035101                          Russell B. Selman, Esq.                                        Testimony
                                                                                                                         Bradley S. Rochlen, Esq.
                                                                                                                                                                                                     Case 4:10-cv-02386




       21     07/18/2007   In Re ASARCO, LLC.                                        U.S. Bankruptcy Court, S.D. Texas   Marten Law Group                    CERCLA Cost Allocation,    Deposition
                                                                                     Corpus Christi Division.            Linda R. Larson, Esq.               Probabilistic Modeling &
                                                                                                                                                             Discounting Issues


       22     08/09/2007   In Re ASARCO, LLC.                                        U.S. Bankruptcy Court, S.D. Texas   Marten Law Group PLLC               CERCLA Cost Allocation,      Trial
                                                                                     Corpus Christi Division.            Linda R. Larson, Esq.               Probabilistic Modeling &   Testimony
                                                                                                                                                             Discounting Issues
                                                                                                                                                                                                     Document 121-4




       23     08/22/2007   In Re ASARCO, LLC.                                        U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                      Natural Resource           Deposition
                                                                                     Corpus Christi Division.            Daniel M. Steinway, Esq.            Damages, Probabilistic
                                                                                                                         Tony M. Davis, Esq.                 Modeling & Discounting
                                                                                                                                                             Issues

       24     08/29/2007   In Re ASARCO, LLC.                                        U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                      Natural Resource           Deposition
                                                                                     Corpus Christi Division.            J. Scott Janoe, Esq.                Damages, Probabilistic
                                                                                                                                                             Modeling & Discounting
                                                                                                                                                             Issues

       25     09/26/2007   In Re ASARCO, LLC.                                        U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                      Probabilistic Modeling &   Pre-Filed
                                                                                     Corpus Christi Division.            J. Scott Janoe, Esq.                Discounting Issues         Testimony

       26     10/05/2007   In Re ASARCO, LLC.                                        U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                      Natural Resource           Deposition
                                                                                     Corpus Christi Division.            Michael McGovern, Esq.              Damages
                                                                                                                                                                                                     Filed on 01/23/14 in TXSD




       27     10/11/2007   In Re ASARCO, LLC.                                        U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                      Natural Resource             Trial
                                                                                     Corpus Christi Division.            Daniel M. Steinway, Esq.            Damages, Probabilistic     Testimony
                                                                                                                         Tony M. Davis, Esq.                 Modeling & Discounting
                                                                                                                                                             Issues

       28     11/02/2007   In Re ASARCO, LLC.                                        U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                      Probabilistic Modeling &   Deposition
                                                                                     Corpus Christi Division.            Michael McGovern, Esq.              Discounting Issues,
                                                                                                                                                             CERCLA Cost Allocation,
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       29     11/14/2007   In Re ASARCO, LLC.                                U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                       Probabilistic Modeling &   Deposition
                                                                             Corpus Christi Division.            Michael Heister, Esq.                Discounting Issues,
                                                                                                                                                      CERCLA Cost Allocation
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       30     11/30/2007   In Re ASARCO, LLC.                                U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                       Probabilistic Modeling &    Pre-Filed
                                                                             Corpus Christi Division.            Michael Heister, Esq.                Discounting Issues,        Testimony *
                                                                                                                                                      CERCLA Cost Allocation


       31     12/10/2007   In Re ASARCO, LLC.                                U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                       Probabilistic Modeling &     Trial
                                                                             Corpus Christi Division.            Michael McGovern, Esq.               Discounting Issues,        Testimony
                                                                                                                                                      CERCLA Cost Allocation
                                                                                                                                                                                               Document 121-4




       32     04/16/2008   In Re ASARCO, LLC.                                U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                       CERCLA Cost Allocation     Deposition
                                                                             Corpus Christi Division.            J. Scott Janoe, Esq.

       33     04/18/2008   In Re ASARCO, LLC.                                U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                       CERCLA Cost Allocation,      Trial
                                                                             Corpus Christi Division.            J. Scott Janoe, Esq.                 BNSF Damage Claim          Testimony


       34     04/22/2008   In Re ASARCO, LLC.                                U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                       CERCLA Cost Allocation       Trial
                                                                             Corpus Christi Division.            J. Scott Janoe, Esq.                                            Testimony

       35     05/12/2008   In Re ASARCO, LLC.                                U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                       Probabilistic Modeling &    Pre-Filed
                                                                             Corpus Christi Division.            J. Barton Seitz, Esq.                Discounting Issues,        Testimony *
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       36     07/15/2008   In Re ASARCO, LLC.                                U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                       CERCLA Cost Allocation     Deposition
                                                                             Corpus Christi Division.            Matthew Paulson, Esq.

       37     09/17/2008   In Re ASARCO, LLC.                                U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                       CERCLA Cost Allocation     Deposition
                                                                             Corpus Christi Division.            J. Scott Janoe, Esq.

       38     10/03/2008   In Re ASARCO, LLC.                                U.S. Bankruptcy Court, S.D. Texas   BakerBotts LLP                       CERCLA Cost Allocation       Trial
                                                                             Corpus Christi Division.            J. Scott Janoe, Esq.                                            Testimony
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         39        05/12/2009        In Re ASARCO, LLC.                                            U.S. Bankruptcy Court, S.D. Texas     Marten Law Group PLLC                     CERCLA Cost Allocation     Deposition
                                                                                                   Corpus Christi Division.              Steven G. Jones, Esq.                     & Natural Resource
                                                                                                                                                                                   Damages
                                                                                                                                                                                                                           Case 4:10-cv-02386




         40        08/19/2009        Intalco Aluminum Corporation v. Central National Insurance    Superior Court, State of Washington   Robertson, Freilich, Bruno & Cohen, LLC   Damages Estimation         Deposition
                                     Comapny of Omaha, et al.                                      (Whatcom County)                      Kevin J. Bruno, Esq.

         41        04/02/2010        General Electric Company v. Joint Liquidators of EMLICO,      Superior Court, Commonwealth of       McCarter & English LLP                    Insurance Allocation       Deposition
                                     Ltd., et al.                                                  Massachusetts (Suffolk County)        Arnold L. Natali, Jr.

         42        04/09/2010        Evansville Greenway and Remediation Trust v. Southern         U.S. District Court (S.D. Indiana -   Michael D. Goodstein                      CERCLA Cost Allocation     Deposition
                                     Indiana Gas and Electric Company, Inc., et al.                Evansville Division)                  Hunsucker Goodstein & Nelson, PC

         43        03/15/2011        Nu-West Mining Inc., and Nu-West Industries Inc. v. United    U.S. District Court (D. Idaho)        Davis Graham & Stubbs, LLP                CERCLA Cost Allocation     Deposition
                                     States                                                                                              Jonanthan W. Rauchway, Esq.
                                                                                                                                                                                                                           Document 121-4




                                                                                                                                         Jerome DeHerrera, Esq.

         44        01/19/2012        Gull Industries, Inc. v. Safeco Insurance Company of America, Superior Court, State of Washington   Marten Law Group PLLC                     Cost Allocation            Deposition
                                     et. al.                                                       (Skagit County)                       Steven G. Jones, Esq.

         45        02/17/2012        In Re Tronox Incorporated, Tronox Incorporated v. Anadarko    U.S Bankruptcy Court, S.D.N.Y.        Bingham McCutchen LLP                     Probabilistic Modeling &   Deposition
                                     Petroleum Corporation and Kerr-McGee Corporation                                                    Thomas Lotterman, Esq.                    Discounting Issues,
                                                                                                                                                                                   CERCLA Cost Allocation,
                                                                                                                                                                                   Natural Resource
                                                                                                                                                                                   Damages




      Note: Affidavits and similar materials not listed.
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                           AN ALLOCATION FRAMEWORK

               WITH RESPECT TO THE ALLOCATION OF RESPONSE COSTS AT

       THE EXXONMOBIL BAYTOWN COMPLEX AND THE BATON ROUGE COMPLEX SITES



                              REBUTTAL REPORT




                                     Prepared by

                                 Richard Lane White
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                                   1230 River Road
                              Plainfield, NH 03781 USA




                                    On Behalf of
                                   BakerBotts LLP
                         Counsel for ExxonMobil Corporation


                                December 17, 2012




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APPENDIX A – SENSITIVITY ANALYSIS TO EXTENDED TIMEFRAME

APPENDIX B – DOCUMENTS RELIED ON




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INTRODUCTION
My background and qualifications are provided in my initial report in this case.1

As an initial matter, having reviewed the government expert rebuttal reports, I see no basis to modify
any of my analyses or conclusions, and I take issue with their criticisms. I will address some of these
issues here, and intend to explain and defend my analyses and conclusions at trial, as needed.

                                                    *****

Mr. Low’s analysis is riddled with errors. At its most basic, it results in an allocation that, as among the
two parties, would not add up to 100% allocation of the costs. This basic error sets the stage; almost
every subsequent calculation provided in Mr. Low’s report relies on an initial set of calculations that are
mis‐specified, leaving every subsequent calculation also in error. Yet, setting this basic deficiency aside,
a further review of his analysis brings out literally scores of additional computational miscalculations –
from incorrectly measuring the timeframe he purports to apply, to double‐counting crude oil data, to
using data meant for one cost segment, mistakenly for another. The fact that calculations do not add to
100% – where they obviously should – is an obvious example. But upon attempting to “replicate” his
analysis, dozens of computational errors have been identified.

As part of my rebuttal, I will point out a number of errors and deficiencies in Mr. Low’s analysis. The
Court will have to determine whether his report, given these errors, merits serious consideration. Yet
setting these errors aside, my principal focus is to provide the Court with a comparison of our differing
methodologies and demonstrate for the Court the impact of the key areas where we disagree.


OVERVIEW OF MAJOR DIFFERENCES IN METHODOLOGY
At its core, there are 5 major differences between Mr. Low’s methodology and that provided in my
report:

    1. Basis for intra‐class allocation (i.e., use of time versus crude oil throughput as modified to
       reflect waste processing improvements);




1
    I have recently moved, and the address shown on this report cover reflects my new home office address (as I
    routinely work remotely). My firm’s address is in Arlington, VA although I do not maintain a physical office at
    that location.




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    2. Fraction of Production Under “Control” or “War Related” (i.e., AvGas and definition of war
       products versus total production);

    3. Basis for inter‐class allocation (i.e., degree of involvement or control);

    4. Impact of Government‐directed delays in waste processing improvements (i.e., impact in the
       “gap” years); and

    5. Scope of “contract” coverage.

The first 3 of these issues are general issues of methodology – and apply across the time periods. The
last 2 issues are specific issues that flow from the more general analysis. Each of these issues is
addressed here in my rebuttal report.

In my view, the Court should not attempt to somehow “work” from Mr. Low’s analysis and make needed
adjustments because the issues identified above affect, independently, the different dimensions of the
allocation analysis. That is, his assignment of what I term the “intra‐class” allocation (i.e., how much to
assign to each year (irrespective of parties who are then asked to share that)) is so flawed that it cannot
be simply “adjusted” without a complete remodeling of his analysis. Independent of this, his analyses of
what I term “inter‐class” allocation issues (i.e., who bears what share within a period) are independently
flawed. Likewise, his analysis attempting to parse production rather than view involvement and control
where it actually applies – at the refinery level itself – is flawed. His analysis should simply be rejected.

To illustrate and evaluate these issues I have developed Table 1 which is a simplified illustration
comparing Mr. Low’s analysis with mine, for costs related to the Baytown Refinery. In this table I
allocate a total of $1 million in cost,2 and for purposes of this I spread these costs over the 1921‐1985
period (consistent with the methodology in my report).3 Note that of the five issues I identified above,
all are illustrated here except for the “gap” issue since it does not apply to the 1942 year. However, I
address it elsewhere in this rebuttal report.



2
    The selection of $1 Million is simply to illustrate the impact of the different allocation issues. Selection of a
    different value would not have any impact on the percentage differences calculated.
3
    I recognize that this illustration simplifies some of the remaining differences in our respective approaches. For
    example, we differ on the timeframe related to allocation. But in my view this illustration captures the major
    issues and the remaining differences would have only a minor impact on the numbers and would not modify
    my general conclusions. The general structure of the illustration is as presented in my report, and this example
    is designed to show how major issues in Mr. Low’s analysis account for the differences in our respective
    results.




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                                                                TABLE 1

                                           Illustrating the Differences in Allocation Method:
                Examining the Allocation of $1 Million in Cost to Baytown and Estimating Cost Allocated to the 1942 Year

                                                      Distribution                                                      Total
                                       Low Product
                                                      of 1942 Cost      Degree of     Allocated         Inpact of    Allocated
          Low Product Breakdown        Breakdown
                                                       to Product     Involvement        Cost           Contract     Cost (With
                                          Share
                                                      Breakdown                                                       Contract)

       1. Initial Low Position

       AvGas                                   7.0%   $      1,628             50%    $       814   $          814   $      1,628
       Other War Products                     25.0%   $      5,814             40%    $     2,326                    $      2,326
       Residual (Non‐War Products)            68.0%   $     15,814              0%    $       ‐                      $        ‐
                                             100.0%   $     23,256             14%    $     3,140   $          814   $      3,953

       2. Move to Production from Years‐of‐Use

       AvGas                                   7.0%   $      2,898             50%    $     1,449   $        1,449   $      2,898
       Other War Products                     25.0%   $     10,349             40%    $     4,140                    $      4,140
       Residual (Non‐War Products)            68.0%   $     28,149              0%    $       ‐                      $        ‐
                                             100.0%   $     41,396             14%    $     5,588   $        1,449   $      7,037


       3. Move to Production As AvGas Related or War Production

       AvGas                                   7.0%   $      2,898             50%    $     1,449   $        1,449   $      2,898
       Other War Products                     93.0%   $     38,499             40%    $    15,399                    $     15,399
       Residual (Non‐War Products)             0.0%   $        ‐                0%    $       ‐                      $        ‐
                                             100.0%   $     41,396             41%    $    16,848   $        1,449   $     18,297



       4. Move to Refinery‐Level Degree of Involvement at White Rate

       AvGas                                   7.0%   $      2,898             60%    $     1,739   $        1,159   $      2,898
       Other War Products                     93.0%   $     38,499             60%    $    23,099                    $     23,099
       Residual (Non‐War Products)             0.0%   $        ‐                0%    $       ‐                      $        ‐
                                             100.0%   $     41,396             60%    $    24,838   $        1,159   $     25,997




       5. Move to XOM View of Contract as "AvGas Related"

       AvGas, Other War Products               7.0%   $      2,898             60%    $     1,739   $        1,159   $      2,898
       and Production Necessary for           93.0%   $     38,499             60%    $    23,099   $       15,399   $     38,499
       War Products                            0.0%   $        ‐                0%    $       ‐                      $        ‐
                                             100.0%   $     41,396             60%    $    24,838   $       16,559   $     41,396


                                          White       Distribution                                                      Total
                                                                       Inter‐Class
                                         Product      of 1942 Cost                    Allocated         Inpact of    Allocated
        White Product Breakdown                                       Allocation to
                                       Breakdown       to Product                        Cost           Contract     Cost (With
                                                                          U.S.
                                          Share       Breakdown                                                       Contract)

       AvGas, Other War Products
       and Production Necessary for          100.0%   $     41,396             60%    $    24,838   $       16,559   $     41,396
       War Products




                                                                                                                                         005
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Under Mr. Low’s methodology, the 1942 year would be assigned 2% of the costs, so in this example, the
1942 year would be assigned $23,256.4 That $23,256 would then be distributed to Mr. Low’s view of the
product breakdown – AvGas (7% of production), Other War Products (25% of production) and Residual
(the remaining 68% of presumably Non‐War Products for which the U.S. would have no responsibility).
Under this, AvGas production would be assigned $1,628 for 1942, Other War Products would be
assigned $5,814 for 1942, and residual products would be assigned $15,814.

Then, using Mr. Low’s degree of involvement shares (his analog to my inter‐class allocation shares), the
AvGas cost (1,628) would be assigned a 50% share of U.S. involvement – for an allocation of $814. The
remaining $814 related to AvGas would be the subject of the contract issue. For the $5,814 related to
Other War Products, his U.S. involvement share would be 40%, resulting in another $2,326 assigned to
the U.S. (and nothing would potentially relate to the contract issue.) For the remaining $15,814 the U.S.
share would be zero. This would leave an initial allocation to the U.S. of $3,140, representing 14% of the
1942 costs. This result is shown as “1. Initial Low Position” on Table 1.

By simply adjusting Mr. Low’s “years‐of‐use” distribution to a production‐related distribution, the cost
assignable to the 1942 year rises from $23,256 to $41,396 – an increase of 78% from his baseline.5
Keeping all of Mr. Low’s other assumptions the same, this raises his allocation to $5,588 and increases
the potential assignment related to the contract issue from $814 to $1,449 (also a 78% increase). This
result is shown as “2. Move to Production from Years‐of‐Use” on Table 1.

Next, building on the modification above, a further adjustment to recognize that all 1942 production is
at least “war related” (if not in fact AvGas related) has the effect of shifting the “residual” fraction, for
which Mr. Low assigns no U.S. responsibility, into a category where the U.S. does bear some
responsibility. If that residual is shifted to “Other War Products” it has the effect of increasing the
allocation to the U.S. from $5,588 to $16,848 (an increase of 437% from Mr. Low’s original estimate). At
this point there is no incremental impact to the contract calculations. This result is shown as “3. Move to
Production as AvGas Related or War Production” on Table 1.




4
    This calculation is based on an equal share assignment to the years 1928 through 1955, and a reduced 50%
    weighting to the years 1956 through 1985.
5
    See White Report, Appendix D‐1 for calculation of the percentage share assigned to 1942.




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Next, if building on the adjustments above, I modify Mr. Low’s “degree of involvement” to reflect my
view of the inter‐class allocation (a move from his 41% share in “3.” above to 60%), his allocation rises
from $16,848 to $24,838 (an increase of 691% from Mr. Low’s original estimate). This also has the
impact of reducing the value of the contract at this stage, because the share directly assignable to the
U.S. rises, leaving less to XOM for the AvGas element Mr. Low evaluates. This result is shown as “4.
Move to Refinery‐Level Degree of Involvement at White Rate” on Table 1.

Finally, if building on the adjustments above, I modify Mr. Low’s view of the contract to comport with
XOM’s view that it covers “AvGas‐related” activity – such that it now covers the other products – this
has the impact of “no change” to the direct allocation, but an increase of $15,399 to the contract issue
estimate, raising it from $1,159 to $16,399. This result is shown as “5. Move to XOM View of Contract as
AvGas Related” on Table 1.

The impact of these four adjustments (and only three of them to the direct allocation) is to increase the
direct allocation by 691%, and to increase the contract‐included allocation by 947% from Mr. Low’s
initial estimate. And at this point, it now reflects my allocation methodology (as shown at the bottom of
Table 1).

The differences in allocation methodology differ depending on the time period being evaluated, but this
simplified comparison illustrates the key issues that the Court will have to consider when comparing the
two methodologies.

PRODUCTION AND EFFICIENCIES VERSUS YEARS‐OF‐USE
What I refer to as the intra‐class allocation – namely assigning costs to the different years and time
periods – is the first issue identified in Table 1. Basically this is the debate as to whether to apply Mr.
Low’s years‐of‐use distribution or my production‐weighted distribution.6

Having read the rebuttal reports of the government’s experts, it is clear that they have grasped an
extreme position and they are desperately working to defend what is ultimately unsupportable: namely,
that the amount of waste production at the XOM facilities is constant over time. That assumption is the




6
    See also discussion in Gagnon Rebuttal Report, Section 3.0 Rebuttal Opinion 1. See also discussion in Johnson
    Rebuttal Report, Rebuttal Opinion 4. See also Beath Rebuttal Report, Section 4, Opinion 1.




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only way in which the U.S. can assert a simplistic “years‐of‐use” framework for allocation. The facts
related to operations of these sites, however, simply render that position untenable.

The basic concept of a “years‐of‐use” methodology has its roots in EPA’s decades‐old NBAR guidance:
“The relative allocation among successive owners and/or operators may be determined, where all other
circumstances are equal, by the relative length of time each owned and/or operated the site.”7 As I
noted now 15 years ago, this is nothing more than simplistic attempt at a volumetric allocation.8 It rests
on the assumption that releases and activities related to production – where “all else is equal” – is a
proxy for waste contribution where such direct measure of waste contribution is not available. All else is
seldom equal, and what the government experts have seemingly ignored is the fact that all else is not
equal. If in fact all else is not equal – and in particular, factors that would relate to waste production –
then appropriate adjustments must be made to effectively “correct” for this such that such a corrected
measure can be used to differentiate time periods or operations.

Unlike many Superfund allocation cases, this is not one involving different parties generating waste and
depositing it at a third‐party site (like a landfill or a drum dump, for example). Nor is this a case where
different parties, operating a facility at different times, undertake fundamentally different operations
and thereby contribute different contaminants. This is a refinery operation, and setting aside the
plancors, or the BOW, what is at issue here is how and when the U.S. government controlled these
operations.

To be fair, the government’s allocation expert, Mr. Low, has acknowledged that the general method I
am employing is the correct method; his criticism is on the data I use to actually make the calculations:

    In the absence of any changes in materials and waste handling processes at the refinery that
    directly or indirectly impact the response costs being claimed, the increases in production would
    provide an equitable basis for allocating the response cost impact during different periods
    because one could reliably use production as a surrogate for waste production. And, if data
    were available to reliably and credibly account for changes in the refinery that impacted the
    contamination actually being remediated and corresponding response costs, reliance on crude
    throughput, as adjusted to reflect these impacts, would also be an appropriate means to
    account for response cost impacts during different periods. However, in my opinion, as

7
    U.S. Environmental Protection Agency, “Interim Guidelines for Preparing Nonbinding Preliminary Allocations
    of Responsibility,” 52 Fed. Reg. 19919 (May 28, 1987).
8
    “Applying Cost Causation Principles in Superfund Allocation Cases,” with John C. Butler III, Environmental Law
    Reporter, Vol. 28, No. 2, (February 1998) at 10081.




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     discussed further below, the available data do not provide a reliable basis for making the types
     of waste‐reduction assumptions relied on by Mr. White, and his approach, which seizes on
     selected documents on refinery modifications to assume major reductions in response cost
     impacts per barrel of crude throughput after 1946, is not reliable or credible. 9[emphasis added]

As such, the first question is how to distinguish one period from another. I employ a production‐
weighted allocation, one that takes into account both duration and production (including relevant
efficiencies over time). The government’s experts struggle to defend a simple years‐of‐use alternative
(effectively removing production and its efficiencies from the analysis). Their solution is to simply punt
on the issue and assume nothing ever changes.

This leaves the Court with a fairly straightforward question: is all else equal? That is, does production
differ to any significant degree across time? And independent of that, does production efficiency as it
relates to waste generation differ significantly over time? These are two relevant, but independent
issues.

Even a years‐of‐use method starts with the (at least implicit) assumption that waste is related to
duration of a facility operation. The issue of production is whether the amount of production at such a
facility varies to any significant degree. For example, if waste relates to operation, it likely makes no
sense to treat years the same where production in one year is double that of another. So the first
question is, does production in fact differ markedly over time? And the answer to that is unequivocally
yes, as the data document.

Notwithstanding Mr. Low’s assumption to the contrary, it is a fact that the years are not “equal” and this
can clearly be seen by comparing crude oil at the refinery over time (where crude oil is a proxy for size
of the facility and its product generation).10 Both Mr. Low and I provide data on crude oil,11 and a cursory
review of these data clearly demonstrate that the plant and its capacity differs significantly across time.
My crude oil capacity data are provided in Table 2 for Baytown. Mr. Low’s methodology assumes this
difference away; he ignores the fact that the plant changes over time.




9
     See Low Rebuttal Report, page 7.
10
     The crude oil data provided in Table 2 are for Baytown and are originally provided in my earlier report. See
     White Report, Appendix C‐2. Corresponding data for Baton Rouge are provided in Appendix K‐2.
11
     Mr. Low’s data generally match mine. See Low Report, page 12 (discussion) and Attachment 4 (data).




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                                                 TABLE 2

                             CRUDE OIL CAPACITY AT BAYTOWN BY YEAR

            Year     Crude Capacity      Year    Crude Capacity      Year     Crude Capacity

            1921          3,650,000      1943         63,875,000     1965        100,375,000
            1922          7,300,000      1944         69,350,000     1966         98,002,500
            1923         10,950,000      1945         65,700,000     1967         98,185,000
            1924         14,600,000      1946         65,700,000     1968        124,100,000
            1925         18,250,000      1947         69,350,000     1969        125,925,000
            1926         22,812,500      1948         73,000,000     1970        125,925,000
            1927         27,375,000      1949         82,125,000     1971        125,925,000
            1928         31,937,500      1950         94,900,000     1972        125,925,000
            1929         36,500,000      1951        114,975,000     1973        127,750,000
            1930         45,625,000      1952        104,390,000     1974        146,000,000
            1931         45,625,000      1953        106,580,000     1975        146,000,000
            1932         45,625,000      1954        101,105,000     1976        142,350,000
            1933         29,200,000      1955        111,325,000     1977        142,350,000
            1934         32,850,000      1956        114,281,500     1978        233,600,000
            1935         41,975,000      1957        102,930,000     1979        233,600,000
            1936         41,975,000      1958        103,276,750     1980        233,600,000
            1937         43,800,000      1959        103,623,500     1981        233,600,000
            1938         54,750,000      1960        106,689,500     1982        233,600,000
            1939         50,005,000      1961        106,689,500     1983        180,310,000
            1940         51,100,000      1962        110,230,000     1984        180,310,000
            1941         54,750,000      1963        110,230,000     1985        180,310,000
            1942         67,525,000      1964        110,230,000

           Average (1921‐55)                                                      54,301,571
           Average (1956‐85)                                                     143,530,775
           Average (1921‐85)                                                      95,484,281


The data in Table 2 do not include the modifications related to waste processing efficiency, but as this
table shows, the size of the refinery – as measured by crude oil throughput – changes dramatically over
time. An analysis that ignores this fact or assumes it away is simply unsupportable.




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Mr. Low begins his Baytown analysis in 1928, notwithstanding the fact that Baytown began operating in
1921. In Figure 1 I have plotted the percentage change in production (measured by crude oil capacity)
for the Baytown facility, across time.12 I have also plotted a straight line, at 100%, which effectively
represents the position of the government experts (as shown in Mr. Low’s analysis). The government
experts start their analysis in 1928, so for purposes of presentation I have set 1928 as the “pivot point”
or base year where relative measurement is taken.




12
     Experts on both sides acknowledge the capacity data employed in my analysis.
     Dr. Kittrell has raised a criticism to the fact that I am using crude oil capacity as opposed to actual production.
     (See Kittrell Rebuttal Report, footnote 3):
         Although some argue than crude oil processing rate may be proportional to waste production,
         Exxon’s experts choose to use crude oil processing capacity. Crude oil processing capacity represents
         the maximum possible processing rate of crude oil in a refinery. For various reasons, the actual
         processing rate is often lower than the crude oil capacity, due to market conditions or competition
         that prevents a refinery from operating at full capacity. Also, the introduction of a new product, like
         special high octane gasoline, may alter the refinery operation from its original design, causing crude
         oil processing rate to be lower than the rated capacity of the refinery. Planned maintenance can be
         deferred, allowing actual crude processing rates to exceed the rated refinery capacity.
     The issue here isn’t a preference for capacity as opposed to actual data, but rather the fact that actual data
     are limited (and at Baton Rouge, almost non‐existent) whereas capacity data are available.
     Were I to make some gross‐level adjustment that incorporated actual data and recalibrated other years the
     impact would be negligible. I chose specifically not to modify my analysis for this issue because of the general
     lack of data. Ultimately, the analysis is guided by the data available.




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                                                        Figure 1
                          Relative Crude Oil Capacity at Baytown Over Time (Base Year 1928)

         800.00%


         700.00%


         600.00%


         500.00%


         400.00%                                                                                                                                                             Crude Capacity by Year (Base = 1928)
                                                                                                                                                                             Government Approach
         300.00%


         200.00%


         100.00%


           0.00%
                   1921
                          1924
                                 1927
                                        1930
                                               1933
                                                      1936
                                                             1939
                                                                    1942
                                                                           1945
                                                                                  1948
                                                                                         1951
                                                                                                1954
                                                                                                       1957
                                                                                                              1960
                                                                                                                     1963
                                                                                                                            1966
                                                                                                                                   1969
                                                                                                                                          1972
                                                                                                                                                 1975
                                                                                                                                                        1978
                                                                                                                                                               1981
                                                                                                                                                                      1984


The blue line (“Crude Capacity By Year (Base = 1928)”) plots the data from Table 2, as a percentage of
the 1928 production. So for example, the crude capacity in 1925 (18,250,000 bbls) is 57.1% of the 1928
capacity (31,937,500 bbls) while the capacity in 1942 (67,525,000 bbls) is 211.4% of the 1928 value, or
an increase of 111.4% over the 1928 baseline.

By comparison, the red line (“Government Approach”) treats every year the same – a simple years‐of‐
use approach where the size of the plant, and the amount of product it produces, has no relevant
relationship to waste production.

To believe the government experts’ positions, you have to believe that this plant looks the same on a
year‐by‐year basis with respect to the types of factors that would influence waste generation (and lead
to costs now being sought). What is shown above has nothing to do with “production efficiency;” rather,
it’s a very simple question, does this facility look the same, in terms of the amount of production, on a
year‐by‐year basis. The answer is obviously no. In fact, as compared to 1928, by the World War II period
production has doubled. By Korea, it tripled. At times, production is has risen more than 700% as
compared to 1928 (an increase of more than 600%).




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This fact, alone, negates the arguments put forward by the government’s experts. As long as production
has a relationship to waste generation all else is not equal. So you have to “correct” for this, by
examining – at the very least – production. My analysis does that; Mr. Low’s approach does not.13

Independent, but equally valid, is the question of production efficiency.14 That question simplifies to
this: on a “per‐barrel” basis, does production differ at it relates to factors that relate to waste
generation. Here again, government experts have refused to effectively address this issue. While they
criticize my use (and related analyses from other XOM experts) of such factors, they cannot refute the
fact that significant waste production efficiencies are occurring over time. Here again, the facts are
clear: in the early years there are few if any efficiencies in place, yet over time the plants spend
significant time and effort to put these efficiencies in place. Moreover, the argument put forward by the
government experts necessarily implies that the waste from a barrel of crude in the 1920s is identical to
the waste from a barrel of crude decades later, notwithstanding the development of a rigorous
regulatory framework designed specifically to prevent this outcome. The question isn’t whether, on a
per‐barrel basis, production of waste is more efficient over time – it obviously has to be given the
regulatory structure – rather the question is the “when” and “to what degree” that efficiency has
occurred. Here again, government experts simply ignore this issue and assume it is constant over time.

As shown in Figure 2, the government experts assume that there are no efficiencies, and by comparison,
my analysis utilizes both the historical data and the fact that later regulations necessitate significant
efficiencies over time (here again, the base year is 1928).




13
     Mr. Low does examine the production data (crude oil capacity) as an alternative analysis but it is not the
     allocation he proposes except for a few selected cost elements.
14
     See also discussion in Gagnon Rebuttal Report, Section 3.0 Rebuttal Opinion 1. See also Johnson Report,
     Opinion 3, and Johnson Rebuttal Report, Rebuttal Opinion 4.




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                                                 Figure 2
               Relative Waste Production Efficiency at Baytown Over Time (Base Year 1928)

          110.00%

          100.00%

           90.00%

           80.00%

           70.00%

           60.00%
                                                                                                                                                                              Production Efficiencies
           50.00%
                                                                                                                                                                              Government Approach
           40.00%

           30.00%

           20.00%

           10.00%

            0.00%
                    1921
                           1924
                                  1927
                                         1930
                                                1933
                                                       1936
                                                              1939
                                                                     1942
                                                                            1945
                                                                                   1948
                                                                                          1951
                                                                                                 1954
                                                                                                        1957
                                                                                                               1960
                                                                                                                      1963
                                                                                                                             1966
                                                                                                                                    1969
                                                                                                                                           1972
                                                                                                                                                  1975
                                                                                                                                                         1978
                                                                                                                                                                1981
                                                                                                                                                                       1984
The blue line (“Production Efficiencies”) shows the impact, on a per‐barrel basis, of programs
undertaken at Baytown over time to reduce the amount of pollution related to crude oil production. As
Figure 2 shows, the impact is significant and results in a dramatic decrease in pollution on a per‐barrel
basis.

By comparison, the red line (“Government Approach”) reflects Mr. Low’s assumption that on a per‐year
basis there is no impact from production efficiencies – again in keeping with his years‐of‐use approach.

The early portion of the figure above reflects the period when the plant was smaller, and there was less
emphasis on production efficiency. It further reflects the fact that during the World War II years the
plant was prevented from taking steps to address the issue. The dramatic decline beginning in the 1950s
reflects a series of documented actions taken at the refinery to address the issue.15

While the experts can quibble with the trajectory (i.e., the timing and shape) of the line shown in
Figure 2, there simply cannot be any dispute that substantial measured progress occurred. Nor can
there be any dispute that by the time a regulatory framework was in place, the waste efficiency (again,

15
     See White Report, at pp. 44‐54. See also Gravel Report, Opinion 3 and Opinion 8. See also Johnson Report,
     Opinion 5. See also Johnson Rebuttal Report, Section 2, Rebuttal Opinion 4 and “Additional Rebuttal
     Opinions”.




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on a per‐barrel basis) had to be dramatically different.16 And here again, this issue, on its own, would
necessitate a wholesale rejection of the simple “years‐of‐use” measure that government experts
propose.

Either of the above issues (amount of production, efficiency on a per‐barrel basis) if found to differ on a
year‐by‐year basis, would necessitate a rejection of a simple “years‐of‐use” approach. Taken together,
my analysis takes the form shown in Figure 3.

                                                 Figure 3
              Relative Waste Production & Efficiency at Baytown Over Time (Base Year 1928)
                                     As Compared to “Years‐of‐Use”

           275.00%

           250.00%

           225.00%

           200.00%

           175.00%

           150.00%
                                                                                                                                                                               Production Efficiencies
           125.00%                                                                                                                                                             Government Approach
                                                                                                                                                                               Post‐1955 Partial Adjustment
           100.00%

            75.00%

            50.00%

            25.00%

             0.00%
                     1921
                            1924
                                   1927
                                          1930
                                                 1933
                                                        1936
                                                               1939
                                                                      1942
                                                                             1945
                                                                                    1948
                                                                                           1951
                                                                                                  1954
                                                                                                         1957
                                                                                                                1960
                                                                                                                       1963
                                                                                                                              1966
                                                                                                                                     1969
                                                                                                                                            1972
                                                                                                                                                   1975
                                                                                                                                                          1978
                                                                                                                                                                 1981
                                                                                                                                                                        1984




I also show, in Figure 3, the impact of an adjustment made by Mr. Low for a portion of his analysis, one
that reduces the “weight” applied to a given year (post 1955) by 50%.17,18 It is clear from the figure

16
     There is no dispute that the waste efficiency activities occurred after the World War II period. And there
     should be no practical dispute over whether a plant, in complying with environmental regulations (e.g., its
     NPDES permit) has to be significantly better by that point in time. Thus the “debate” is over the shape of the
     curve in Figure 2, and less so over its starting and ending position.
     Interestingly, a delay in the efficiency would likely raise the U.S. allocation since it would likely raise the
     allocation to the Korea period.
17
     Oddly, in describing his 50% post‐1955 reduction, Mr. Low concedes that major improvements have occurred.
         In my opinion, the record does not provide a basis to conclude that any particular operational
         improvements have impacted the actual remediation and corresponding response costs incurred for
         this unit in a way that can be quantified. But, as noted by Exxon’s experts, the record does show that




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above that the government’s approach is at odds with the actual and the historical data. There can be
no justification for allocating based on the government’s proposal as illustrated in Figure 3.

Since the crude oil capacity data are not in dispute (we both cite the same data), and since Mr. Low
concedes that the approach I propose “would also be an appropriate means to account for response
cost impacts during different periods” if the production efficiencies could be determined,19 the next
question to examine is what these production efficiencies are that I am employing and address the
critiques raised by the government experts.

It was the contemporaneous view that the various improvements – whose focus was on reducing
effluent contamination – ultimately resulted in a 98.5% improvement in effluent contamination levels by
the mid‐1960s.20 What I have tried to do in my analysis is find the representative changes that
contribute to that improvement and measure their impact, and place them time‐wise within the cleanup
program. It is clear when this program “started” and we know the measured improvement, and we
know by when that improvement had to occur.

In Figure 4 I highlight the “curve” that is created at Baytown as a consequence of the production
efficiencies I have modeled, and compare that to an alternative or modified curve, whose key
parameters are same start and end date, and same 97% overall production efficiency (i.e., reduction of
pollution) at project completion.

         Exxon did take steps to reduce the amount of emulsions processed through the refinery waste
         stream. While the impact of this cannot be quantified, in my opinion, it is reasonable to infer that
         reduced emulsions had an impact on the buildup of sludge in the outfall canals. Accordingly, I have
         incorporated an adjustment multiplier of 50% on years of operation after 1955 as a reasonable way
         to reflect this improvement, assuming an operating period of 1928‐1995. This is a qualitative
         adjustment multiplier. I will continue to evaluate this issue to determine if a more precise
         quantification can be recommended. (Low Report, page 17)
     Basically, Mr. Low acknowledges that significant steps were taken, but he questions the data I used to develop
     the adjustment. He concedes that an adjustment should be made, but concludes that there isn’t sufficient
     data to estimate that impact – so he just cuts it in half.
18
     The government position pre‐1948 is driven entirely by a refusal to adopt the crude oil capacity data (since no
     production efficiencies occur in those years). And what this diagram shows is the bias in their resulting
     analysis: they have chosen an allocation method that significantly and by design reduces the weighting
     assigned to the World War II years.
19
     Low Rebuttal Report, page 7.
20
     See J.R. Barsalou. September 23, 1964. Air and Water Pollution Effect on Plant Field Installations, Baytown
     Refinery. BAYC‐00000800 ‐ BAYC‐00000805; at page BAYC‐00000800. See also discussion in Johnson Rebuttal
     Report, Section 2, and “Additional Rebuttal Opinions” 4.




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                                                  Figure 4
                Production Efficiency Curve for Baytown – As Modeled vs. Smoothed Curve



           110.0%
           100.0%
             90.0%
             80.0%
             70.0%
             60.0%
                                                                                      Modified Curve
             50.0%
             40.0%                                                                    Original Curve
             30.0%
             20.0%
             10.0%
              0.0%
                       1947
                       1948
                       1949
                       1950
                       1951
                       1952
                       1953
                       1954
                       1955
                       1956
                       1957
                       1958
                       1959
                       1960
                       1961
                       1962
The original curve – the curve I use in my analysis – has a series of kink points or pivots where I set
improvement targets to specific points in time. As a consequence, it is not a “smooth” curve. By
comparison, I have modeled such a smooth curve. Although they differ, the impact is not material.

Dr. Kittrell asserts that the two factors I reference are somehow a “double counting” of the impact and
that the fact that my calculations are consistent with the contemporaneous measures of overall
efficiency are merely coincidence.21,22

I disagree, but as an initial matter, I would note that if these are somehow a double counting, is it not
the case that at least one of these becomes a valid factor representing waste reduction? That is, doesn’t
this become the elusive factor that Mr. Low fails to find? 23



21
     See Kittrell Rebuttal Report, page 8. See also Id. at page 42.
22
     Use of these factors is also addressed in Johnson Rebuttal Report. See e.g., Additional Rebuttal Opinions 4, 5
     and 6.
23
     The government experts argue over the factors I have utilized, but cannot dispute that significant waste
     improvements were implemented. Their offered alternative is to reject my adjustments but they offer none in
     the alternative. Effectively, they argue that no improvements were made – at least none that impact waste




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As to the double‐counting, these factors are measuring different things. The 70% production efficiency
reflects a reduction at the source – at the refinery itself. This is the result of a series of steps undertaken
at the plant aimed at source control significantly reducing the amount of oily sludge generated.24 The
90% factor measures something very different, namely, a reduction in oil (and thereby oily sludge) at
Separator 3M due to the installation, over time, of 3 pre‐separators.25,26

Frankly, the issue is less whether the factors I apply are the sole cause of the measured significant
decrease in pollution actually experienced at the plant. Rather, the key question is whether the mulit‐
year multi‐million dollar effort did in fact achieve a significant decrease in pollution.

The relevant questions here are actually straightforward:

     1. Did Baytown undertake significant efforts to reduce effluent contamination after World War
        2? The answer is yes.

     2. Did these efforts significantly reduce sludge as a result of source control? The answer is yes.

     3. Irrespective of source control, did Baytown install a system of pre‐separators that
        significantly captured oil and sludge (cost for which is not being claimed) thereby reducing
        contaminant levels in the historical separator system (which is a claimed component due to
        its historical use)? The answer is yes.

     4. Was it the contemporaneous view that waste effluent was significantly reduced – on the
        order of 98.5% – as a consequence of these and other actions taken by the plant? The
        answer is yes.

     5. Is there any evidence that the process improvements did not in fact substantially reduce
        pollution? The answer is no.

     generation as an issue in this allocation. Their calculation assumes that waste production, per barrel of crude,
     remains unchanged over time (See Figure 2). This conclusion is unsupportable and directly contradicted by the
     contemporaneous documents.
24
     See “An Historical Overview of Solid Waste Management in the Petroleum Industry,” (API; Oct. 1990) at 11‐15,
     22‐25.
25
     It should be noted that XOM is not claiming costs related to the pre‐separators or the associated sludge
     disposal. It should also be noted that there is no identified groundwater contamination in this area.
26
     Prior to installation of the pre‐separators most of the waste at the plant was generated in Separator 10 and
     disposed of in Separator 3M (and the old Separator 12). Once the pre‐separators were installed 90% was
     captured in the pre‐separators, significantly reducing the sludge in the other components. In effect, these non‐
     claimed components began addressing a significant portion of the waste at the historical unit, thereby
     reducing the contamination faced by that historical unit. The plant may not be generating less waste as a
     measure from this factor, but that waste is being captured as a non‐claimed cost, and the effluent, after this
     step in treatment, is significantly less contaminated.




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This leaves one last question: Aren’t these the types of factors one would consider when recalibrating
production quantities to develop a proxy for contamination on a year‐by‐year basis? Yes, and I did; Mr.
Low did not. Ultimately, the Court will have to determine whether the wide‐ranging program focused on
waste effluent reduction took place, had a measureable impact, and is at least approximated by the
contemporaneous data. If the Court concludes that these activities did occur, were successful, and were
measured contemporaneously, my allocation takes that into account.



WARTIME PRODUCTS
The next major difference in our respective approaches is in what wartime product to include in the
allocation. Mr. Low includes a 7% share for AvGas (based on 14% AvGas production, reduced by half for
alleged off‐site component utilization),27,28 plus an additional 25% of other wartime products.29 The
“basis” for this breakdown is from Dr. Brigham’s report.30 Yet, this analysis fails to account for the fact
that the entire plant was dedicated to wartime production. In fact, as contemporaneous reports note:

     On the basis of the current refinery input of 143,780 barrels daily of crude and 6,860 barrels
     daily of other raw materials, the output of war products is 31.1%. At first glance it might appear
     that this represents less than one‐third conversion to the manufacture of war products but this
     is hardly true, since, in order that these war products be made, it is unavoidable that other
     products such as motor gasoline, kerosene, heating oil, and residual fuel oil, be made as
     byproducts. Although these are not classified as war products they are nevertheless playing an
     important part in the nation's war economy. The current production of war products represents
     essentially 100% conversion since all of the crudes and other raw materials taken into the
     refinery are run specifically for the production of one or more war products. Should any of the
     crudes be reduced in quantity, the output of war products would suffer. Specific records of all
     other refineries are not available but, based on such information as is available, it appears that
     the Humble's Baytown refinery is making more war products than any other refinery in this

27
     See Low Report, page 26. The basis for this “adjustment” is provided in Dr. Kittrell’s report and will be
     addressed by other experts. However, I must note that what Mr. Low has done by making this adjustment
     results in an allocation of less than 100% of the costs among responding parties – a fatal flaw in any CERCLA
     allocation. Moreover, Mr. Low fails to appreciate that what Dr. Kittrell points out does not somehow render
     crude oil an irrelevant surrogate.
28
     See discussion in Johnson Rebuttal Report, Section 2, Rebuttal Opinion 1. Mr. Johnson directly addresses the
     Kittrell contention that a 50% reduction is appropriate to AvGas as part of his broader discussion that these
     plants were fully dedicated to the production of AvGas and related war products. See also discussion in Beath
     Rebuttal Report, Section 4, Rebuttal Opinion 2. Mr. Beath directly rebuts Dr. Kittrell’s contention that 50% of
     the AvGas was made from purchased components.
29
     See Low Report, page 27. Note that he references a 20% share for other war products, but in his calculations,
     he employs 25% (See Attachment 3).
30
     See Low Report, footnote 58. See however, Gravel Rebuttal Report, Section 4, Rebuttal Opinion 5.




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     country either in terms of the percentage of these products on the refinery input or in terms of
     total volume.

     Only approximately 15% of the output of war products is sold directly to the Army and Navy but
     under the terms of a Product Sales Contract between Humble and Standard Oil Company of New
     Jersey all products not sold directly by Humble in the territory in which it markets are sold to
     Standard Oil Company of New Jersey. It is understood that practically all of the war products
     sold to Standard Oil Company of New Jersey under the Product Sales Contract eventually are
     delivered to the Army, Navy, aircraft engine builders or contractors on jobs directly for the Army
     or Navy. [emphasis added]31

Mr. Low’s analysis at Baton Rouge suffers from the same deficiency. Here, again Mr. Low attempts to
segregate out AvGas production and selected other products (he uses 9.5% for AvGas, prior to again
reducing it by 50% to arrive at 4.8% net, and he uses 25% for other wartime products).32 Yet
contemporaneous documents paint a very different picture, namely one where AvGas is 26.2% of total
production alone, and all – 100% – of products are war products.33

This issue, however, is more than simply a debate over the data – whether to use or alternatively ignore
the contemporaneous evidence – it is also a basic yet fundamental question of process. Documents
indicate, and other Exxon experts will testify, that one cannot selectively charge the crude oil to the stills
such that it only produces a single product. That is, one cannot simply dedicate a barrel of crude to
AvGas, or determine that the entire barrel produce gasoline or any other single product. Crude oil
produces a range of products and one cannot simply direct that a barrel be charged to produce the




31
     In citing this document Mr. Low leaves out key comments made in the document that directly contradict the
     position he takes in his analysis.
     See Production of War Products at Humble Oil and Refining Company's Baytown Refinery. February 25, 1943.
     BAYHIS‐00024502 ‐ BAYHIS‐00024514; at pp. BAYHIS‐00024502‐BAYHIS‐00024503.
     It should be noted that a breakdown of “war products” is provided in the above‐referenced document, and
     the share there, at 31.1%, is less than what Mr. Low ultimately employs. Yet the documentation describing this
     number makes clear that the plant and its products should be viewed as 100% conversion – this is the issue
     that neither Dr. Brigham or Mr. Low seem to recognize.
32
     See Low Report, Attachment 4. See discussion at Id., pp. 37‐38. Note that text refers to 16% for other war
     products, but his calculations employ 25% as the share.
33
     See Major War Products. Baton Rouge, Louisiana. Prepared for War Agencies Joint Inspection Trip. May 30‐31,
     1943. BRC‐00011607 ‐ BRC‐00011640; at page BRC‐00011620. The referenced product distribution table
     shows 100% of the products produced are war‐related.




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subset needed, without “avoiding” that the remaining products be likewise produced (or discarded as
waste).34

Other experts for XOM will address Dr. Kittrell’s assertion that there should be a 50% adjustment to
AvGas due to its substantial manufacture from product produced off site and shipped in. My
understanding is that, overall, the plants actually were net exporters of such materials.35 Further, how
Mr. Low has employed this adjustment, thus creating a gap in his allocation (with shares that add to less
than 100%) simply leads to spurious results.

These plants were producing product for the war effort. Their supply of raw materials was under the
control of the U.S. government. It was the position of the U.S. that these plants maximize production
utilizing as little raw product as possible to meet government needs. Other XOM experts will address
this in much greater detail, but there is no justification for counting only a subset of product when in
fact the entire range of products was controlled by the government and a range of product was the
natural result of meeting the governments’ needs.

That there is a relationship between the products needed by the U.S. and the array of other products
necessarily produced as byproduct is a fact; that all of these products were wartime products, or at least
the result of fully dedicating these refineries to wartime production, is also a fact.36 By failing to account
for this, once again Mr. Low miscalculates the allocation, and again biases his results low. By accounting
for this issue (in tandem with the intra‐class issue previously raised), Mr. Low’s allocation would move
by more than 500% (up 524% from baseline).

Another argument sponsored by the government experts is that the U.S. should only have any
responsibility for the AvGas fraction of plant production, plus, at times, some lesser amount of
responsibility what are termed “Other War Products.” This overly narrow view is misguided.

34
     See e.g., Johnson Rebuttal Report, Rebuttal Opinions 1 and 2. This is also addressed at length in Mr. Gravel’s
     reports.
35
     This issue is addressed in both the Johnson Rebuttal Report and the Beath Rebuttal Report.
36
     I recognize that these plants were generating some public sector sales. My point is the plants were
     reconfigured specifically for wartime production, that the inputs used in the plants were specifically optimized
     for this wartime production, and that a wide range of products were in fact made for the government (well
     beyond Avgas). Finally, one cannot charge crude to the stills in such a way to only make avgas or a limited
     range of products and the government knew this. Effectively, these other products were the byproducts of the
     government requirements, and but‐for their sale, would have been additional waste product.




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At its core, this argument rests on the implicit assumptions that these products can somehow be
magically parsed or segregated from the broader array of crude‐derivative products, and that one can
somehow exert control or involvement over this narrow segment. Neither of these assumptions is valid.

As other XOM experts describe, control or involvement rests at the refinery level – one cannot direct
AvGas without simultaneously directing the array of other products that necessarily flow from the
charging of crude oil to the stills. Nor is this control limited to AvGas, or even to the narrowly defined
other war products to which Mr. Low refers. As the contemporaneous documents clearly indicate, these
plants were fully dedicated to making war products, and were specifically reconfigured to maximize
those products.37,38


DEGREE OF INVOLVEMENT (INTER‐CLASS ALLOCATION)
Mr. Low notes that my inter‐class allocation – where I develop a framework for parsing owner from
operator cost responsibility – is at least loosely related to his degree of involvement analysis. He then
goes on to criticize the results shown in my framework.

To be clear, I noted in my report that what I was showing was an illustration of the framework itself, and
employing factors that counsel for XOM would be presenting to the Court. Subsequent to the
submission of my report, counsel for the government sought and obtained a stipulation allowing Mr.
Low (and me as well) to directly opine on these factors. And now, I’m criticized for not having provided
my own opinion on them initially.

So as an initial matter, it is my opinion that owners and operators differ, and that allocations as between
them must take into account who is who. A ratio between an owner and an operator can vary
significantly on a case‐by‐case basis, and does not lend itself to quantification. That is, it is an inherently
qualitative assessment (which is why it is not generally considered appropriate for expert testimony).
Given the stipulation, it is my opinion that the Court should consider a benchmark parsing between
owner and operator parties, and in my report I provide a number of references for past decisions. In my

37
     See Production of War Products at Humble Oil and Refining Company's Baytown Refinery. February 25, 1943.
     BAYHIS‐00024502 ‐ BAYHIS‐00024514; at pp. BAYHIS‐00024502‐BAYHIS‐00024503.
38
     See Major War Products. Baton Rouge, Louisiana. Prepared for War Agencies Joint Inspection Trip. May 30‐31,
     1943. BRC‐00011607 ‐ BRC‐00011640; at page BRC‐00011620. The referenced product distribution table
     shows 100% of the products produced are war‐related.




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opinion (and this is an opinion I have expressed previously in expert testimony) that the standard
benchmark is 20% for owners, 80% for operators.

Further, given the stipulation, it is my opinion that with respect to concurrent operators, they
collectively bear the operator share, which is a standard benchmark of 80%. How they “share” that
operator share is driven by the relative level of operational activity or control.39 For example, where
operators are equal, they would each bear an equal (40%) share of the operator share. Here, where the
U.S. has operational control – for example during World War II – it exerts a unique type of control, one
that no private party can exert. Where the U.S. is actively engaged in ongoing operations, and has a level
of control commensurate with its ability to seize the facility, its level of control must be viewed as nearly
complete.40,41 Counsel for XOM has taken the position that they will argue before the Court that the U.S.
should be assigned at the very least 75% of the relative operator share (or 60% as 75% x 80%). I would
argue that the U.S. share should be at least that high given the unique nature of its control.

In a World War II year – 1942 for example – this translates into a 40% share for XOM (20% as owner,
20% for its operator component) and 60% for the U.S., for refinery‐related operations. Shares differ for
components where ownership differs.

By comparison, Mr. Low assigns a 50% degree of involvement share for AvGas contracts,42 plancors and
BOW costs during World War II,43,44 and lower amounts for other components that he delineates. He

39
     Issues related to the control exerted by the U.S. are discussed in great detail in Mr. Gravel’s Rebuttal Report.
     See, e.g., Rebuttal Opinion 2.
40
     See e.g., discussion in Gravel Rebuttal Report, Section 2, Rebuttal Opinion 1. Issues of control and involvement
     are also address in Johnson Rebuttal Report.
41
     The unique threat of seizure by the government was not limited to physical seizure of the plant. It extended to
     government control over crude and the ability to shut it off for not complying with orders, as well as the
     potential for criminal prosecution were these orders not followed.
42
     As Mr. Low notes:
         In light of the involvement of Exxon as the owner and operator and economic beneficiary of the
         refinery and the involvement of the U.S. in efforts to optimize the production of Avgas, in my opinion,
         it would be reasonable to see the World War II relationship as approximating an equal partnership,
         arms length arrangement from which both sides benefited. On that basis, in my opinion, it would be
         reasonable to allocate 50% of the impact of Avgas production to the U.S., producing a U.S. Avgas
         share for the Refinery for this period of 3.5 % (= 50% x 7%). (See Low Report, page 27)
43
     As Mr. Low notes:
         In my opinion, a reasonable share for the U.S. for the waste load impact from the Plancors is 50%.
         This is based on the fact that the U.S. funded construction of and owned the plants, Exxon operated




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develops these shares without a consideration of owner status. His 50% assignment basically derives
from a “they both benefited” view of allocation. Yet for some of these elements the U.S. is the owner as
well as the operator, while at others XOM is the owner. Yet his shares remain unaffected by this fact.

Moreover, Mr. Low assigns different shares related to his breakdown of different products even though
those products are produced in the facility at the same time. That is, Mr. Low assigns a 50% share for
AvGas, and a 40% share for “Other (War) Products” during World War II. During Korea he assigns a 25%
share for AvGas, and no listed share for Korea‐era other war products. Focusing on the World War II
period, the control that was exerted by the U.S. was over the refinery itself and the full range of
products it produced. I see no basis for differentiating the degree of involvement as Mr. Low uses that
term, between products.

Mr. Low’s analysis errs in viewing the degree of involvement differently for different products – as if the
government somehow exerts more control over one crude‐derivative product as compared with
another when in fact control exists throughout the process and for all products. Mr. Low’s analysis also
errs in not counting all products as (irrespective of “degree”) being controlled by the government, when
in fact the plants are fully reconfigured to make war‐time products and all products should be included.

The third issue is what Mr. Low refers to as “degree of involvement” and which I refer to as inter‐class
allocation.45 Basically, the issue is this: whatever waste is ultimately assigned to a given timeframe (say,
1942 for example), the next question is how to parse that waste contribution as among responsible
parties, what I would typically think of as owner vs. operator issues. Here again, Mr. Low seems to
disregard the facts, opting to ignore the distinctions between ownership and operation in lieu of his own
views of “everyone benefits”. For example, he assigns a 50% share to the U.S. for AvGas related



         and was in a position to derive profits from the plants. Both sides derived benefits from the plants.
         This is consistent with settlements that the U.S. has reached in other cases with respect to World War
         II era government‐owned, contractor‐operated facilities. (See Low Report, page 29)
44
     As Mr. Low notes:
         In my opinion, a reasonable U.S. share for the 1942‐1946 period is 50% [for the Ordnance Works].
         This share reflects the fact that the U.S. funded construction of and owned the plant while Exxon
         operated and received benefits from it. As noted above, this share is consistent with settlements that
         the U.S. has reached in other cases with respect to World War II era government‐owned, contractor
         operated facilities. (See Low Report, page 29)
45
     See Low Report, footnote 15.




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activities (where Exxon owns the facility),46 yet applies the same 50% share to the U.S. for the Baytown
Ordnance Works and the Plancors (where the U.S. owns the facilities).47

Table 3 provides a comparison of the factors Mr. Low and I use.



                                                    TABLE 3
                             COMPARISON OF INTER‐CLASS ALLOCATION FACTORS
                                                                Low Report
                                                                                         White (Both
                          Cost Category                                    Baton          Plants as
                                                          Baytown                        Applicable)
                                                                           Rouge


            AvGas Related (During WWII)                          50%              50%           60%
            Other War Products (During WWII)                     40%              40%           60%
            AvGas Related (During Korean War)                    25%              25%           60%
            Other War Products (During Korean War)                0%               0%           60%
            Baytown Ordnance Works                               50%    NOT APPLICABLE          80%
            Government Owned Plancors                            50%              50%           80%



In my example, which focuses on the 1942 year for refinery‐related production (AvGas and other
wartime products) the impact of these differences in inter‐class share – even given the other
adjustments – has a significant impact. In fact, it results in (collectively) an 800% (819.9% increase)
increase from Mr. Low’s original estimate.48

These factors do not lend themselves to simple quantification – indeed as uniquely qualitative factors
they are frequently not within the scope of expert testimony and analysis.49 The Court will have to


46
     See Low Report, Attachment 3.
47
     See Low Report, Attachment 3.
48
     This may seem like an anomalous result given that one factor moves from 50% to 60%, and the other moves
     from 40% to 60%, but the reason for the significant further increase is that Mr. Low’s original estimate
     assumes only 25% of the production if non‐AvGas war‐related production, but the second adjustment
     modifies this to all non‐AvGas production, thus from a cost perspective, small changes in share have a
     magnified impact as compared to Mr. Low’s original analysis and further illustrate why is outcome is so
     extreme.
49
     As Mr. Low knows from having his testimony on the subject excluded in Westwood Squibb. See New York v.
     Westwood‐Squibb Pharmaceuticals, Inc., Civ. No. 90‐CV‐1324, 2001 U.S. Dist. LEXIS 11765 (W.D. N.Y. June 23,
     2001).




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determine whether being an owner, versus being an operator, “means something” under CERCLA and
specifically as it relates to allocation. Mr. Low’s analysis implies it does not. I would differ.

Likewise, the Court will have to determine just how much control was exercised by the U.S. during the
war period. It is clear – since both Mr. Low and I both ascribe shares to the U.S. – that we acknowledge
there is a degree of involvement or control, the question is “how much” and how to use that in parsing
the allocation as between the U.S. and Exxon during the relevant period. I assert that the control is
significant; indeed, it may be uniquely nearly “total” control in that these plants are operated under the
threat of seizure – something that only a governmental authority can undertake.

TIMEFRAME FOR ANALYSIS
Mr. Low criticizes my analysis for ending in 1985.50 As a general matter, most of the areas where costs
were incurred discontinued use by 1985.51 There may be exceptions, but they are not the bulk of the
costs. Second, by the mid‐1980s the impact of an incremental year on the analysis is negligible given
programs to address contamination that have been in place for decades.

I have evaluated the sensitivity of this issue, and provide that in Appendix A. If the time period for all
Baytown Refinery elements were extended from 1985 to 1995, for example, it would adjust the U.S.
share by less than 1 percentage point.52


RESIDUAL CONTROL DURING “THE GAP” YEARS
The nature of the relationship between the U.S. and XOM during the World War II period was unique.
No private party, acting as a “co‐operator” could have exerted the unique level of control that the
government did. Decisions were made by the government, and executed by the refineries accordingly
(under constant threat of seizure). Raw materials were provided only as needed to make specified
products. Decisions on operational issues and process improvements were at the discretion of the
government. These plants were reconfigured specifically to produce AvGas and other products
designated by the government. They were prohibited from making process improvements that would
address the increasing levels of contamination. And then the government left.

50
     See Low Rebuttal Report, footnote 5.
51
     See also discussion in Gagnon Rebuttal Report, Section 4.0, Rebuttal Opinion 2, Additional Rebuttal Opinion 4.
52
     Even in Mr. Low’s analysis not all costs are extended beyond 1985. Taking this into account would further
     reduce any impact.




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And in leaving, it left these facilities with a need to address contamination, which the refineries then
undertook. But these activities were delayed by the war effort, and what the gap analysis addresses is
the incremental impact of these government‐directed delays.53 The Court will have to determine
whether these delays (and their impact on contamination) are the vestige of the government control of
these plants during World War II, and if so, how those impacts should be apportioned. My analysis
quantifies those impacts, and apportions them consistent with the allocation during the period when
these delays were made.

The gap analysis does not assign all of the costs to the U.S.; rather, it calculates the impact of the delay
in setting up the cleanup program and assigns the delay increment to both parties at the same share
basis as they were assigned during the World War II years (during which the delay occurred).
Graphically, this is shown in Figure 5. The “But‐For” program is the actual program, but implemented
when requested, whereas the “Actual Program” is the program that later occurred. At any given year
the vertical distance between these two is the gap or delay element.




53
     This issue is addressed in both of the Gravel reports.




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                                                                                 Figure 5
                                                                       Impact of Delay at Baytown


                                                          Baytown Gap Analysis
                                    120%

                                    100%
            Percent of Completion




                                    80%

                                    60%                                                                                  Actual Program

                                    40%                                                                                  But‐For Program

                                    20%

                                     0%
                                           1941
                                                  1943
                                                         1945
                                                                1947
                                                                        1949
                                                                               1951
                                                                                      1953
                                                                                             1955
                                                                                                    1957
                                                                                                           1959
                                                                                                                  1961
The value of the delay or gap is calculated in Table 4.




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                                               TABLE 4
                                      BAYTOWN GAP ANALYSIS
                             Actual Program              But‐For Program

              Year           At                         At                        Gap
                                        At Mid                     At Mid
                         Beginning                  Beginning
                                         Year                       Year
                          of Year                    of Year

              1941             100%         100%          100%         100%            0%
              1942             100%         100%          100%         100%            0%
              1943             100%         100%          100%         100%            0%
              1944             100%         100%          100%         100%            0%
              1945             100%         100%          100%          95%            5%
              1946             100%         100%           90%          85%           15%
              1947             100%         100%           80%          75%           25%
              1948             100%         100%           70%          65%           35%
              1949             100%          95%           60%          55%           40%
              1950              90%          85%           50%          45%           40%
              1951              80%          75%           40%          35%           40%
              1952              70%          65%           30%          25%           40%
              1953              60%          55%           20%          15%           40%
              1954              50%          45%           10%           5%           40%
              1955              40%          35%            0%           0%           35%
              1956              30%          25%            0%           0%           25%
              1957              20%          15%            0%           0%           15%
              1958              10%           5%            0%           0%            5%
              1959               0%           0%            0%           0%            0%
              1960               0%           0%            0%           0%            0%
              1961               0%           0%            0%           0%            0%
              1962               0%           0%            0%           0%            0%



Mr. Low, in criticizing my gap analysis, notes “In my opinion Mr. Whites assumptions are misplaced and
without any meaningful foundation, and his methodology for applying these assumptions is not




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supported by any logical analysis or treatment of facts.”54 Unfortunately, Mr. Low himself appears to be
the one who has not considered the facts that support a delay component.

The delay component is completely consistent with the activities that took place after World War II to
address waste processing and disposal systems and practices neglected by the Federal government and
industry at the expense of the production of war products. In fact, as the owners of industrial facilities
themselves, the Federal government embarked on a program similar to the one implemented by XOM
at its Baytown and Baton Rouge facilities during the same timeframe to upgrade waste processing and
disposal facilities at Federally‐owned rubber plants.

World War II brought about major changes that caused or exacerbated pollution in America:

        A significant increase in industrial development;

        The lack of construction of municipal or industrial waste treatment works between 1940
         and 1947 because of the diversion of men and materials to support the war effort; and

        The introduction of technological innovations that introduced a wide range of new types
         of contaminants into waste streams.55

The need to address the industrial waste problem after the war ended was generally accepted by state
agencies, the Federal Government and many industries.56 While World War II diverted attention and
resources from the problems associated with industrial waste,

         The industrialists of the nation now generally realize that it is a part of their
         responsibility to see that their own plant wastes do not cause deterioration and to
         improve the conditions of the streams. The great majority of them now accept this as a
         basic factor and provide for the necessary works as an integral part of the initial plant

54
     See Low Rebuttal Report, page 17.
55
     M.D. Hollis, “The Water Pollution Image,” in Proceedings of the National Conference on Water Pollution,
     December 12‐14, 1960, p. 32.
56
     For example, the association of State Sanitary Engineers passed a resolution on water pollution abatement in
     its 1946 annual conference. The text of the resolution was published in Abel Wolman, “State Responsibility in
     Stream Pollution Abatement,” Industrial and Engineering Chemistry, May 1947, p. 564; In 1947, Thomas
     Parran, of the U.S. Public Health Department noted, “Since wartime shortages of materials and manpower are
     beginning to diminish, modernization and construction of treatment plants can now go beyond the planning
     stage.” Thomas Parran, “The Public Health Service and Industrial Pollution,” Industrial and Engineering
     Chemistry, May 1947, p. 560; An example of industry’s acknowledgement of the need to address pollution
     issues can be found in Pennsylvania Chemical Society symposium “Chemists Meet to Discuss Waste
     Treatment,” which included discussions on oil refinery wastes and other industries.




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         constructions. This is a sensible and humanitarian approach to the problem and it
         usually results both in economies in initial cost and good will on the part of the people,
         the community officials, and the authorities of the local health department.57

Specific to the oil industry, Humble noted, “During the war it was not possible to devote much technical
manpower to the problem of effluent improvement since it was obvious that saving surface waters was
secondary to saving men. As soon after the war as manpower became available, the Humble Oil and
Refining Company investigated the entire disposal problem.”58

As an owner of the synthetic rubber plants the Federal government through the Rubber Reserve
Company (RRC) also recognized the importance of undertaking these activities to improve its facilities.
As I noted in my original report (and as discussed in detail in Mr. Gravel reports),59 the Federal
government initiated its programs by retaining Mr. Shepard Powell to undertake an investigation and
make recommendations to improve waste processing and disposal systems at its plants by
implementing a series of improvements to reduce or eliminate pollution particularly as it related to
discharges into surface water bodies such as Scott’s Bay and Monte Sano Bayou.60 The Federal
government’s waste improvement program was implemented virtually simultaneously with the
programs initiated for the same purpose by Humble and SOLA in the Baytown and Baton Rouge
refineries and lasted at least into the early 1950s.61 Provided below is a table that provides examples of
activities that illustrate the parallels between Humble, SOLA and the federally initiated activities.




57
     See Edmund Beesselievere, “What Constitutes a Waste Problem,” Industrial Waste Treatment, 1952, at
     page 6.
58
     See S.O. Brady, “Effluent Improvement Program at Humble’s Baytown Refinery,” Proceedings of the Ninth
     Industrial Waste Conference, May 10‐12, 1954, BAYC‐00013616.
59
     See Gravel Report at pp. 102‐109 and 200‐204; This is also addressed in Mr. Gravel’s rebuttal report.
60
     See Report to the RFC on Industrial Wastes, RUR‐SR 40, Copolymer Plant, Baytown, July 31, 1946. BAYHIS‐
     0000134‐145; See also RUR‐SR 43, Butyl Rubber Plant, Baytown, July 26, 1946. BAYHIS‐00006386‐395. See also
     RUR‐SR 10, Butadiene Rubber Plant, Baytown, July 26, 1946. BAYHIS‐00006438‐447; See also RUR‐SR 29,
     Butadiene Rubber Plant, Baton Rouge, September 19, 1946. BRHIS‐00000589‐596; See also RUR‐SR 15 and
     158, Butyl Rubber Plant, Baton Rouge, September 18, 1946. BRHIS‐0000931‐941; See also RUR‐SR 41,
     Copolymer Rubber Plant, Baton Rouge, September 19, 1946. BRHIS‐00000001‐9.
61
     See, e.g., Refinery Loss Committee, April 16, 1948. MIS‐00028099‐28103. See also Central Refinery Loss
     Committee, April 29, 1949. MIS‐00028251‐278.; See also Refinery Loss Committee, March 31‐April 4, 1952.
     MIS‐00031624 – 667.




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        Facility                             Waste‐related Activity                         Date of Activity
All RRC Rubber Plants    The RRC initiated an independent analysis of waste           Initiated 1946.62
                         disposal practices
RRC Butadiene Plant,     New gutter required to provide a drain to the oil sewer      Approved March 4,
Baytown, Plancor 485     to collect lubricating oil that was spilled at the gas       1946.63
                         compressor houses on the south side of
                         Dehydrogenation Units A & B
RRC Butadiene and        The RRC approved the installation of equipment (sewers,      Approved October 1,
Butyl Baytown Rubber     pumps, chemical treatment facilities etc.) to improve the    1948.64
Plants, Plancors 485     effluent system from the Butadiene and Butyl plants at
and 1082                 Baytown.
RRC Butyl Plant, Baton   The RRC approved the installation of a 20‐ by 30‐foot        Approved May 18,
Rouge, Plancor 572       separator at the outlet of the 72‐inch sewer from the        1949.65
                         Butyl Rubber plant
RRC Butadiene Plant,     The RRC approved the installation of mechanical              Approved June 2, 1949.66
Baytown, Plancor 485     scrapers and sludge pumps on the existing separator and
                         a sludge line from the pump to the existing lagoon at the
                         Butadiene Plant
RRC Butyl Plant,         The RRC approved the installation of a system to treat       Approved June 2, 1949 67
Baytown, Plancor 1082    cupric ammonium acetate solution and the equipment
                         to deliver the treated waste stream to the Butyl Plant’s
                         flocculator
RRC Butyl Plant,         The RRC approved the installation of three coolers to        Approved June 2, 1949.68
Baytown, Plancor 1082    treat boiler blowdown water and a pit for aerating the
                         stream with piping to convey it to the neutralizers at the
                         Butyl Plant
RRC Butyl Plant, Baton   The RRC approved the installation of a sewer line and        Approved October 20,
Rouge, Plancor 572       catch basin associated with 12,000 Barrel Hortonsphere       1951.69
All three RRC Plants,    The RRC approved the installation of a cement‐lined          Approved January 15,
Baytown, Plancors        sewer from the south end of the three rubber plants 9‐       1953.70
877, 485 and 1082        feet in diameter to Scott’s Bay
RRC Butyl Plant,         The RRC approved the installation of additional effluent     Approved April 13,
Baytown, Plancor 1082    facilities, including effluent storage basin, sump           1954.71



62
     See George Hebbard, Sheppard Powell, and R.E. Rostenbach, “Industrial Wastes: Rubber Industry,” Industrial
     and Engineering Chemistry, May 1947, p. 592. MISC‐00014797.
63
     Approved BAYHIS‐00016273, Scope BAYHIS‐00016274
64
     Approved October 1, 1948 BAYC‐00003377; Scope BAYC‐0003375‐3376.
65
     RFC Service Order BRC‐00007746; Specifications BRC‐00007748‐751.
66
     Approved June 2, 1949 BAYC‐00003370; Scope BAYC‐00003368.
67
     Approved June 2, 1949 BAYC‐00003370; Scope BAYC‐00003368.
68
     Approved June 2, 1949 BAYC‐00003370; Scope BAYC‐00003368.
69
     Approved October 19, 1951 BAYC‐00008363; Catch Basin Shear Gate and Sewer Line BAYC‐00008385.
70
     Approved January 15, 1952 BAYC‐00008671; Scope BAYC‐00008678; Specifications BAYC‐00008691‐695.
71
     Approved April 13, 1954 BAYC‐00002325; Scope BAYC‐00002330; Specifications BAYC‐00002341‐2349.




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As illustrated by the activities outlined above, the Federal government’s program was initiated during
the same timeframe as the Humble and SOLA programs and was aimed at addressing similar issues.
Namely, the improvement of inefficient facility waste disposal systems that could not be addressed
during the Wartime period.


THE CONTRACT ISSUE
The contract issue is one that the Court itself will decide. My calculations quantify the position taken by
counsel for XOM: that the contract is not itself limited to AvGas but extends to other products and
activities that relate to AvGas production. In my view, the calculations I have provided correctly
calculate the incremental value of the contract.72

By contrast, Mr. Low presents a very narrow reading of the contract, which I presume represents the
position of the U.S.


FUTURE COSTS
With regards to other areas where I have developed a basis for a future cost allocation (e.g., plancors
into Scott’s Bay), Mr. Low correctly notes that these are areas that have not yet incurred any significant
costs (although some areas have already incurred study and investigations costs). Nonetheless, I have
developed a framework based on the available data to data to provide the Court and the parties with
my best estimate, to date. Implicitly, these analyses assume that any remediation action will relate
directly to the waste contributions I have calculated. Having reviewed Mr. Low’s reports, I have no basis
to make any changes to my analyses for these areas.


SENSITIVITY ANALYSES
In Appendix A I have provided a sensitivity analysis to examine the timeframe issue (where Mr. Low
criticizes my work for not extending beyond 1985).

As shown in my original report (Appendix D‐1), by 1985 a year was assigned 0.28% of the cost
distribution. Consequently, each incremental year added a negligible impact. As shown in Appendix A,
adding data up through 1995 (instead of my 1985 cutoff), modifies the allocation to the U.S. only
marginally (less than 1 percentage point, approximately $400,000). This calculation assumes that all

72
     It should be noted that if the Court modifies my allocation, but adopts my production‐based distribution of
     costs, given XOM’s view of the contract, there may be a net zero impact (i.e., it may modify the direct
     allocation within a year but simply push that impact into the corresponding contract adjustment).




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costs extend through 1995. Mr. Low does not extend all costs through 1995, so this calculation
overstates the impact to the issue he raises.

For Baton Rouge, where by 1985 the year is assigned 0.006% of the cost, the impact would be far less.
Also in Mr. Low’s analysis, he extends Baton Rouge costs through 1988 (an additional 3 years). As such,
this will have almost no impact on the allocation results (approximately $10,000 and 0.04% to the
refinery component).


ERRORS AND DEFICIENCIES IN MR. LOW’S REPORT
See the Low Report Baytown Analysis (Low Report, Attachment 3).73 The “Multipliers” Table provides
Mr. Low’s estimates of the relative output associated with various elements. Here is where his analysis
assigns a 14% share to AvGas (prior to the 50% reduction to 7%) and a 25% share to Other War
Products. As a consequence of this analysis, Mr. Low determines that the residual 61% (100% less 14%
less 25%) of plant production is unrelated to wartime production or control. Assuming, arguendo, that
this is valid, the impact of his further reduction by 50% down to a 7% share for AvGas – without
subsequent recalibration of shares – results in an erroneous allocation: one that sums to less than 100%
of costs as between all relevant parties. Specifically, Mr. Low concludes that 100% of the waste
generation is obtained from 93% of plant production because half of the AvGas identified is allegedly
produced from shipments of materials made offsite that do not contribute to contamination, thus each
share must be recalibrated and Mr. Low fails to undertake this adjustment to his analysis. Since the
results in this table are used throughout his analysis, all subsequent results are in error.

The value assigned to “other war products” is listed as 25% in the table, but listed as 20% throughout his
text. This discrepancy cannot be explained by any attempted adjustment for the error identified above
(related to reduction in AvGas). The analysis uses 25% and I assume that repeated references to 20%
elsewhere in the report are in error.

The “Response Cost Impacts” Table contains several errors. First, the calculations for “Velasco Street
Ditch” list a total of 135.42% which indicates that one or more of the values in that column are in error.
Further, while there are years assigned to each period on either side of the 1950‐53 time period, that
period is assigned 0 years, which is an error. It appears that the year values are meant to match those

73
     I have not developed a complete list of Mr. Low’s errors or discrepancies. In many instances what I identify for
     Baytown has a corresponding error in his Baton Rouge analysis.




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associated with the refinery groundwater calculations (which sum to 68 years), but the shares ascribed
to each period is based on a denominator of only 48 years (which appears to match the canals area
calculations). Assuming that the years are correct (with the inclusion of a 3 year value for the missing
years in 1950‐53), the shares assigned to each year are in error. The resulting 2.20% assigned to this cost
element is also in error.

Note that while the table identified above assigns a 2.20% share to the Velasco Street Ditch area, other
tables in the analysis assign a 1.81% share to the area, demonstrating that the tables are not “linked”.
Further, while the calculations directly above the 2.20% are clearly in error, the corrected value is in fact
2.20% which indicates that the calculations in the table are not the source of the result. Moreover, the
table identifying a 1.81% result is also clearly an error.

The SMWU Investigation section indicates that the relevant timeframe for the analysis is 1931‐1959 – a
total of 29 years, but the analysis itself is clearly based only on 22 years and appears to begin in 1938
and run through 1959. I assume that the titles are in error as they do not match the calculated shares.

In making his SMWU‐related calculations, Mr. Low examines start and end dates for various SMWUs and
then “averages” them without weighting them leading to erroneous time periods. Further, Mr. Low is
inconsistent in how he purports to develop his results. For example, at SWMU 72 the period 1927 to
1947 – 1956 is determined to be 1926‐1952, while at SWMU 73 1930 to 1947 – 1956 is determined to
be 1930‐1947. Years are “shifted” in some calculations, and averages of year ranges are not addressed
consistently. Finally, Mr. Low concludes that 50% of investigation costs are related to wartime SMWUs
but his analysis fails to examine the relative size of the SMWUs when in fact those 11 wartime SMWUs
represent approximately 68% of the total acreage.

The Canals analysis references the period 1928‐1995 in the text, 1928‐1994 in the table itself, yet
appears to make calculations in the same table based on 1928‐1995. I have assumed that the intent was
to use 1928‐1995 in the calculations and that the table description is in error.

The analysis uses the 1942‐1990 timeframe for Baytown Ordnance Works‐related costs (a total of 49
years), yet the narrative of the report indicates that the timeframe is 1942‐1993 or a total of 52 years.

With respect to the Plancors, the narrative indicates a timeframe of 1942‐1955, while the “Multipliers”
table indicates that analysis begins in 1943. However, the actual calculations begin in 1942, so I assume




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the description in the multipliers table is in error. The share assigned to the plancors in the multipliers
table is 6%, but in the narrative data are evaluated to derive an average of 5% (4% in the 1942‐1945
period, 5.3% in the 1946‐1955 period).

Mr. Low’s report provides his estimate of crude oil by year but these data appear to be a mix of capacity
and actual use data, without calibration, whereas my analysis consistently employed reported capacity
data. By mixing the different data, without calibration, the resulting distribution (i.e., shares) will be
distorted and to the extent that these miscalculated shares are then employed in subsequent analysis,
they too become miscalculated. In reviewing some of the crude oil data employed by Mr. Low I found a
series of poorly‐sourced data, in tandem with data whose citations were simply in error. Moreover,
some of the documentation identified was not provided as part of Mr. Low’s document set.

CONCLUSIONS

The analysis supplements my earlier report and provides a summary of the opinions and underlying
analysis that I anticipate providing at trial.

This report is based on information provided to me as of December 17, 2012.




                                                                              RICHARD LANE WHITE




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                                 APPENDIX A

                             SENSITIVITY ANALYSES




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                                 APPENDIX B

                            DOCUMENTS RELIED ON




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  Expert Reports

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